Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51   Desc
                          Main Document    Page 1 of 96



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    Beverly Hills, California 90213
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  6
    Special Litigation Counsel for Elissa D.
  7 Miller, Chapter 7 Trustee for the bankruptcy
    estate of Girardi Keese
  8
                             UNITED STATES BANKRUPTCY COURT
  9
                               CENTRAL DISTRICT OF CALIFORNIA
 10
                                    LOS ANGELES DIVISION
 11
    In re                                      Case No. 2:20-bk-21020-BR
 12
    THOMAS V. GIRARDI,                         Chapter 7
 13
                                  Debtor.      DECLARATION OF SPECIAL
 14                                            LITIGATION COUNSEL RONALD
                                               RICHARDS IN SUPPORT OF
 15                                            OPPOSITION TO MOTION FOR RELIEF
                                               FROM STAY
 16
                                               Date:     November 2, 2021
 17                                            Time:     10:00 a.m.
                                               Ctrm.:    1668
 18                                                      255 E. Temple Street
                                                         Los Angeles, CA 90012
 19

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      2888243.3
        DECLARATION OF RONALD RICHARDS IN SUPPORT OF OPPOSITION TO MOTION FOR RELIEF
                                        FROM STAY
Case 2:20-bk-21020-BR          Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                    Desc
                                Main Document    Page 2 of 96



  1                              DECLARATION OF RONALD RICHARDS

  2       I, Ronald Richards, declare1:

  3       1. I am managing shareholder of the Law Offices of Ronald Richards & Associates,

  4           APC, who was appointed as Special Litigation Counsel for the GK Estate. I make

  5           this declaration in support of the GK Trustee's Opposition and of my own personal

  6           knowledge, unless otherwise stated.

  7       2. I have been licensed to practice law for over 26 years. I am licensed in multiple

  8           jurisdictions and practice law on both coasts. I have numerous state and federal

  9           published opinions. I have moved the law in many directions and have appeared

 10           before this Court, many, many times.

 11       3. On August 26, 2021, I filed the first amended complaint an adversary action 2:21-

 12           ap-01155-BR against Erika Girardi. A true and correct copy is attached as Exhibit

 13           “A” to this declaration.

 14       4. The complaint that is the subject of this relief from stay motion that is pending

 15           against Erika Girardi only asserts a cause of action for constructive trust and

 16           accounting, counts I & II. (See Doc. # 258, Exh A).

 17       5. On July 18, 2021, the District Court in Chicago Illinois in the Edelson Action stayed

 18           the constructive trust cause of action. A true and correct copy of that order is

 19           attached as Exhibit “B”. The court based its stay on the constructive trust cause of

 20           action being an asset of the GK Estate, citing 11 USC 362(a)(3). Specifically, on

 21           page 33 of the order, the Court states, “Off the bat, it seems obvious that Edelson's

 22           request for a constructive trust is subject to a stay under section 362(a)(3). As stated

 23           clearly in Edelson's complaint, it "seeks the imposition of a constructive trust on all

 24           money transferred from Boeing to [Girardi Keese] in connection with the Lion Air

 25           settlements." Compl. ¶ 95. If Edelson were to succeed on a constructive trust theory,

 26           "the value of [Girardi or Girardi Keese's] bankruptcy estate would be reduced . . .

 27
          1
              All capitalized terms not defined herein shall have the meanings ascribed to them in the GK
 28 Trustee's Opposition.
             2
      2888243.3
        DECLARATION OF RONALD RICHARDS IN SUPPORT OF OPPOSITION TO MOTION FOR RELIEF
                                        FROM STAY
Case 2:20-bk-21020-BR        Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51            Desc
                              Main Document    Page 3 of 96



  1           because [the] property in which the debtor holds legal but not equitable title as of

  2           the commencement of the case . . . is property of the estate . . . to the extent of the

  3           debtor's legal title." See In re Nat. Century Fin. Enters., Inc., 423 F.3d 567, 575 (6th

  4           Cir. 2005);”

  5       6. The finding by the District Court is res judicata on the moving party and is “obvious”

  6           to any bankruptcy practitioner.    The Plaintiff cannot seek relief from stay in this

  7           Court to pursue GK Estate transfers to Erika Girardi, yet, that is exactly what they

  8           are trying to do in their Complaint which has already been stayed by the Court in

  9           Illinois. There is no mention of this District Court stay order in the moving papers.

 10       7. The only remaining cause of action in the Edelson Action as it would apply to Erika

 11           Girardi is for accounting. The GK Trustee’s complaint already seeks accounting.

 12       8. The GK Trustee is also already doing a forensic accounting.

 13       9. The Plaintiff is not representing any of its former Boeing clients at this time. Their

 14           action is only for their legal fees. They are no different than any other attorney who

 15           was allegedly swindled by Thomas Girardi.

 16       10. Allowing the Plaintiff relief from stay so they can pursue their claims for attorneys’

 17           fees would only further deplete Erika Girardi’s resources and interfere with our

 18           complaint which is seeking the same remedy of accounting.

 19       11. The GK Trustee believes that opening the flood gates to every creditor claiming

 20           Erika Girardi received their portion of settlements would be contrary to the orderly

 21           administration of claims.

 22       12. The right to accounting from Girardi Keese belongs to the GK Estate, not Edelson.

 23       13. It is not efficient or economical for one firm in Chicago, Illinois to be seeking

 24           accounting from Erika Girardi while the GK Trustee is seeking the same accounting.

 25       14. The GK Trustee is asking this Court to deny the motion as she believes it will further

 26           interfere with resolution of this case, delay this case until the above issues are

 27           decided in Chicago, and further deplete scarce assets of Erika for no reason other

 28           than to take the same discovery available here.
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      2888243.3
        DECLARATION OF RONALD RICHARDS IN SUPPORT OF OPPOSITION TO MOTION FOR RELIEF
                                        FROM STAY
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51            Desc
                             Main Document    Page 4 of 96



  1       15. To force the GK Trustee’s Special Litigation Counsel’s target to have to go through

  2           more stress and aggravation for accounting, defies logic at this point in time. The

  3           litigation relating to accounting and GK Estate transfers and direct liability to Erika

  4           Jayne belong in front of one court, this Court, not piecemealed across America.

  5           I declare under penalty of perjury under the laws of the United States that the

  6 foregoing is true and correct. Executed on October 18, 2021

  7
                                                 RONALD RICHARDS
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        DECLARATION OF RONALD RICHARDS IN SUPPORT OF OPPOSITION TO MOTION FOR RELIEF
                                         FROM STAY
Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51   Desc
                         Main Document    Page 5 of 96




                EXHIBIT "A"
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51            Desc
                             Main Document    Page 6 of 96
   Case 2:21-ap-01155-BR        Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                                Main Document     Page 1 of 52



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     5 Facsimile: 310.277.3325
     6 Special Litigation Counsel for Elissa D. Miller, Chapter 7 Trustee
     7
     8
                                   UNITED STATES BANKRUPTCY COURT
     9
                                    CENTRAL DISTRICT OF CALIFORNIA
    10
                                         LOS ANGELES DIVISION
    11
         In re                                        Case No. 2:20-bk-21022-BR
    12
         GIRARDI KEESE,                               Chapter 7
    13
                      Debtor.
    14
                                                      Adv. Proc. No. 2:21-ap-01155-BR
    15 ELISSA D. MILLER, Chapter 7 Trustee,
                                                      TRUSTEE’S FIRST AMENDED
    16                Plaintiff,                      COMPLAINT FOR:
    17 v.                                             1) DECLARATORY RELIEF; 2)
                                                      TURNOVER OF PROPERTY OF THE
    18 ERIKA N. GIRARDI, an individual; EJ            ESTATE PURSUANT TO 11 U.S.C. §
       GLOBAL, LLC, a limited liability company;      542; (3) AVOIDANCE AND RECOVERY
    19 and PRETTY MESS, INC., a corporation,          OF FRAUDULENT TRANSFER; (4)
                                                      CONVERSION; (5) CONSTRUCTIVE
    20               Defendants                       TRUST; (6) ACCOUNT STATED; (7)
                                                      OPEN BOOK ACCOUNT; (8) MONEY
    21                                                HAD AND RECEIVED; (9) UNJUST
                                                      ENRICHMENT; AND (10) ACCOUNTING
    22

    23                                                Date:     TBD
                                                      Time:     TBD
    24                                                Place.: Courtroom 1668
                                                      United States Bankruptcy Court
    25                                                255 East Temple Street
                                                      Los Angeles, CA 90012
    26
    27
         ///
    28


                                                     1      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                  EXHIBIT "A"
Case 2:20-bk-21020-BR        Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                  Desc
                              Main Document    Page 7 of 96
  Case 2:21-ap-01155-BR         Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21         Desc
                                Main Document     Page 2 of 52



    1         For her First Amended Complaint for (1) Declaratory Relief; (2) Turnover of
    2 Property of the Estate Pursuant to 11 U.S.C. § 542; (3) Avoidance and Recovery of
    3 Fraudulent Transfer; (4) Conversion; (5) Constructive Trust; (6) Account Stated; (7) Open
    4 Book Account; (8) Money Had and Received; (9) Unjust Enrichment; and (10) Accounting
    5 (the “Complaint”), plaintiff Elissa D. Miller, the duly appointed, qualified and acting
    6 Chapter 7 Trustee (the “Trustee” or “Plaintiff”) for the bankruptcy estate of debtor Girardi
    7 Keese (the “Estate”), alleges as follows:
    8              STATEMENT OF JURISDICTION, PARTIES AND PROCEEDINGS
    9         1.     This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§
   10 157(b)(1) and 1334(a), as this is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (E),
   11 (H) and (O). Venue properly lies in this judicial district pursuant to 28 U.S.C. § 1409(a),
   12 in that the instant proceeding is related to a case under title 11 of the United States Code
   13 which is still pending.
   14         2.     Plaintiff Elissa D. Miller is the duly appointed, qualified and acting Chapter 7
   15 Trustee of the bankruptcy estate (the “Estate”) created in the instant Chapter 7

   16 bankruptcy case pending in the Los Angeles Division of the United States Bankruptcy
   17 Court for the Central District of California which is styled In re Girardi Keese, bearing
   18 Case No. 2:20-bk-21022-BR (the “Bankruptcy Case”).
   19         3.     Girardi Keese (the “Debtor”) is the debtor in the Bankruptcy Case and this
   20 case was initiated by the filing an involuntary petition for relief under Chapter 7 of Title 11
   21 of the United States Code on December 18, 2020 (the “Petition Date”).               The Court
   22 entered the Order for Relief on the involuntary petition on January 13, 2021.

   23         4.     Plaintiff is informed and believes, and on that basis alleges thereon, that at
   24 all times mentioned herein, defendant Erika N. Girardi (“Erika”) is an individual that
   25 resides and/or has conducted business within the jurisdiction of this Court and is the wife
   26 of Thomas Girardi, owner and controlling member of the Debtor.
   27         5.     Plaintiff is informed and believes, and on that basis alleges thereon, that at
   28 all times mentioned herein, defendant EJ Global, LLC (“EJG”) is a California limited


                                                      2      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                       EXHIBIT "A"
Case 2:20-bk-21020-BR        Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                 Desc
                              Main Document    Page 8 of 96
  Case 2:21-ap-01155-BR       Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21          Desc
                              Main Document     Page 3 of 52



    1 liability company conducting business within the jurisdiction of this Court.        EJG was
    2 formed in 2008 and is exclusively owned and controlled by defendant Erika. Defendant
    3 Erika is the only manager and sole 100% member of EJG. Defendant Erika filed her
    4 income from EJG on Schedule C of her personal income tax returns for many years
    5 because she was the sole owner and member of EJG.             Defendant Erika going back to
    6 2008, was the only manager of the EJG. The articles of organization show EJG was only
    7 managed by Erika. Defendant Erika was the only one in control of EJG.
    8         6.      Plaintiff is informed and believes, and on that basis alleges thereon, that at

    9 all times mentioned herein, defendant Pretty Mess, Inc. (“PMI”) is a California corporation
   10 conducting business within the jurisdiction of this Court. PMI was formed in 2021 as a
   11 successor entity to EJG and is also owned and controlled exclusively by defendant Erika.
   12 Defendant Erika is the only office or director of PMI. It was formed by her business
   13 manager, who was referred to her by Lisa Rinna, a cast mate of Erika’s on her television
   14 show, “The Real Housewives of Beverly Hills”. Plaintiff alleges that in order to avoid the
   15 large liability to EJG and its alter ego Erika Girardi, Erika incorporated PMI as a personal

   16 services company, just like EJG, and has diverted her going forward income to this entity
   17 to avoid creditors of EJG and Erika Girardi.        PMI is a mere continuation of EJG, a
   18 personal services corporation using the same expenses previously paid by the Debtor.
   19 Erika is the same 100% owner of both EJG and PMI and the formation of PMI is for the
   20 fraudulent purpose of escaping liability for EJG and Erika’s debts. Specifically, it was
   21 only after she left Thomas Girardi and the Debtor stopped paying for EJG and Erika’s
   22 debts, did Erika incorporate PMI which does nothing different that EJG. Both entities are

   23 tax pass through to the same beneficial owner, Erika Girardi.
   24         7.      Plaintiff is informed and believes, and on that basis alleges thereon, that at
   25 all times mentioned herein, defendants EJG and PMI is the alter ego of each other and of
   26 defendant Erika, in that each of them has maintained such a unity of interest and
   27 ownership that the separate personalities of the entities and the individual defendant no
   28 longer exist.


                                                      3      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                       EXHIBIT "A"
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                  Desc
                             Main Document    Page 9 of 96
  Case 2:21-ap-01155-BR         Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21        Desc
                                Main Document     Page 4 of 52



    1         8.     Plaintiff further alleges that the entity EJG is completely a shell entity, has
    2 no capital in it whatsoever, has a single owner, with no separate books, current bank
    3 accounts, or other indicia of corporate formality. EJG was a personal service company
    4 for Erika Girardi aka Erika Jayne. EJG meets all requirements for an alter ego finding.
    5 Clearly, if EJG was allowed to shield Erika Girardi from over $25,000,000 in expenses
    6 just spent on her, there would be an egregious inequitable result. The existence of EJG
    7 was merely an instrumentality to funnel a large scale tax fraud from the Debtor to the
    8 benefit of Defendant Erika.       No one else but Defendant Erika benefitted from the

    9 expenses described below. In response to the demand letter by the Trustee, Erika has
   10 taken the ludicrous position that since she did not receive the payments directly from the
   11 Debtor she is not liable and if EJG is liable, it would not expand to her personally as she
   12 was just a member. The Plaintiff alleges that all payments and monies received by Erika
   13 were via her American Express card issued to her personally with her own number, and
   14 vendors picked by her and all of the payments were directed by her. Just like she has
   15 taken the ludicrous position that attorneys may not comment about her case and facts

   16 related to her conduct, she has not stopped there. She attempts to create a distinction
   17 between handing her money directly versus paying all of her bills directly. The distinction,
   18 like her prior motion for reconsideration is meritless. Any payments made for her benefit
   19 are her responsibility.
   20         9.     Erika, EJG, and PMI all have the same attorney representing them in this
   21 action further showing they are all one in the same. The attorney believes all of the
   22 interests are completely aligned which further supports each of them are the alter ego of

   23 one another.
   24         10.    Defendants Erika, EJG and PMI are collectively referred herein as the
   25 “Defendants”).
   26                              GENERAL FACTUAL ALLEGATIONS
   27         11.    Plaintiff is informed and believes and, on that basis alleges thereon, that in
   28 or around August 2012, the Court entered an Order approving a settlement agreement in


                                                     4       TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                       EXHIBIT "A"
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                  Desc
                            Main Document     Page 10 of 96
  Case 2:21-ap-01155-BR      Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21           Desc
                             Main Document     Page 5 of 52



    1 the Marston v. Marston state court action, San Bernardino Superior Court Case Number
    2 CIVRS 910950 (the “Court Approved Settlement Agreement”). A true and correct copy of
    3 the Court Approved Settlement Agreement is attached hereto, marked as Exhibit “A” and
    4 incorporated herein by this reference.
    5         12.    Plaintiff is informed and believes and, on that basis alleges thereon, that the
    6 Debtor diverted and transferred its right to receive attorneys’ fees from the Court
    7 Approved Settlement Agreement in the form of an ongoing stream of payments from the
    8 State of California Lottery to the Defendants (the “Lottery Payments”).

    9         13.    Plaintiff is informed and believes and, on that basis alleges thereon, that the
   10 Defendants received more than $242,658 in payments from the State of California Lottery
   11 from 2012 to 2021. The Defendants are scheduled to still receive $78,000 in payments
   12 from the State of California Lottery in years 2022 through 2025. The payments are part
   13 of a continuous course of conduct and are on-going. Erika directly agreed to receive the
   14 payments, personally signed the lottery forms directing the payments to her, and on
   15 information and belief, approved the stipulation authorizing the payments to her. Erika

   16 even withheld the 2021 payment.          At all times prior to 2021, Erika concealed the
   17 existence of the lottery payments settlement and payment instructions. Even though
   18 Erika signed the California Lottery Payee Setup in Exhibit C, she willfully concealed this
   19 income or assignment from the Trustee AFTER the Chapter 7 relief was entered and was
   20 confronted by the Trustee’s Special Counsel.          The Ninth Circuit has held that in
   21 fraudulent transfer cases, when some transfers occur outside the statute of limitations
   22 and some occur within the statute of limitations, a court “may presume that the earliest

   23 payments received by the investor are payments against the investor's claim for
   24 restitution.” Donell v. Kowell, 533 F.3d at 762, 774 (9th Cir.2008). In this case, Plaintiff
   25 alleges that the fact that notwithstanding the concealment by Erika of these lotter
   26 payments, any statute is reset upon the next payment becoming due as the transfer is
   27 not complete until the last payment in 2025. Plaintiff alleges that any applicable statutes
   28 of limitation would run no earlier than 2032, seven years after the last payment. Plaintiff


                                                     5      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                      EXHIBIT "A"
Case 2:20-bk-21020-BR         Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                Desc
                              Main Document     Page 11 of 96
  Case 2:21-ap-01155-BR       Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21          Desc
                              Main Document     Page 6 of 52



    1 further alleges that the Trustee’s Complaint was filed within one year of discovering
    2 Erika’s diversion of the lottery proceeds      (See Donell v. Mojtahedian, 976 F. Supp. 2d
    3 1183, 1189 (C.D. Cal. 2013).
    4         14.    Plaintiff intercepted and is currently holding funds in the amount of
    5 $19,760.00 which represents the Lottery Payments for the year 2021, which funds the
    6 Plaintiff is currently holding in trust pursuant to an agreement with defendant Erika
    7 pending resolution of this dispute and further order of the Court. A true and correct copy
    8 of the letter agreement regarding 2021 Lottery Payments is attached hereto, marked as

    9 Exhibit “B” and incorporated herein by this reference.        Erika refuses to release this
   10 payment even though she has no legal claim to the money as she was not an attorney
   11 who earned any fees.      The fact that Erika has claimed that the Lottery Payments is her
   12 money and refuses to release it shows her knowledge and admission as to the nature of
   13 the Debtor’s income and operations.
   14         15.    Plaintiff is informed and believes and, on that basis alleges thereon, that
   15 Lottery Payments belong to the Girardi Keese bankruptcy estate and that none of the

   16 Lottery Payments made to the Defendants have been repaid to the Debtor and remain
   17 outstanding.      A true and correct copy of the demand letter regarding the Lottery
   18 Payments is attached hereto, marked as Exhibit “C” and incorporated herein by this
   19 reference. Erika has contended that the Debtor may have received some of the Lottery
   20 Payments alleged herein. It was Erika who directed the Lottery Payments. To the extent
   21 the Debtor has already received some of the earlier Lottery Payments, the Debtor will
   22 credit those from the prayer in this action.

   23         16.    Plaintiff is informed and believes and, on that basis alleges thereon, that the
   24 Defendants received jewelry and other luxury items purchased using the Debtor’s funds
   25 (the “Luxury Items”).    As discovery is taken, the Trustee will outline the specific luxury
   26 items. Erika is aware of the $25,000,000 plus in expenses paid for her and she is in the
   27 best position to itemize her jewelry, clothes, and other personal property.
   28 ///


                                                      6      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                       EXHIBIT "A"
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                 Desc
                            Main Document     Page 12 of 96
  Case 2:21-ap-01155-BR      Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21          Desc
                             Main Document     Page 7 of 52



    1         17.   Plaintiff is informed and believes and, on that basis alleges thereon, that
    2 diverting and/or transferring of the Lottery Payments and the Luxury Items to the
    3 Defendants are collectively referred herein as the “Transfers.”
    4         18.   Plaintiff is informed and believes and, on that basis alleges thereon, that the
    5 Debtor and the Defendants conspired to conceal the Transfers and keep these assets
    6 away the Debtor’s creditors. Plaintiff is further informed and believes and, on that basis
    7 alleges thereon, that due to the concealment of the Transfers, the Trustee only recently
    8 discovered the Transfers and therefore any applicable deadlines and statute of limitations

    9 are tolled.
   10         19.   Plaintiff is informed and believes and, on that basis alleges thereon, that
   11 additionally, based on the Debtor’s books and records and tax returns, the Debtor is
   12 owed no less than $25,592,261.26 plus interest in receivables from the Defendants (the
   13 “Receivables”).
   14         20.   Specifically, the Receivables have been identified as no less than
   15 $25,592,261.26 in payments made by the Debtor for charges made by the Defendants.

   16 The payments by the Debtor were exclusively for the benefit of the Defendants.          The
   17 expenses consist largely of expenses to promote Erika personally. Moreover, the over
   18 $14,000,000 in American Express charges were made by Erika on a card issued to her.
   19 The other $11,000,000 or so in vendor payments were made for Defendant Erika’s
   20 benefit only. None of the payments appear to be legitimate law firm payments but for the
   21 sole benefit of Defendant Erika’s massive spending, glam squad, talent professionals,
   22 image professionals, travel, clothes, purses, shoes, jewelry and other lavish expenses

   23 that were meticulously added to the Debtor’s books as a valid and enforcement open
   24 book account and account stated and receivable.
   25         21.   Plaintiff further alleges that Defendant Erika received the complete benefit
   26 of the Receivables and does not get any sort of immunity or windfall from the Debtor’s tax
   27 fraud for her community property law firm and entertainment business.
   28 ///


                                                    7      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                      EXHIBIT "A"
Case 2:20-bk-21020-BR         Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51              Desc
                              Main Document     Page 13 of 96
  Case 2:21-ap-01155-BR       Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21        Desc
                              Main Document     Page 8 of 52



    1          22.     Plaintiff will contend it will not be a defense to this Complaint simply
    2 because Defendant Erika contends she did not know her husband was maintaining a
    3 debt. It would be a miscarriage of justice, if Defendant Erika was allowed to simply walk
    4 completely free of owing over $25,000,000 to the Estate. Erika signed all of her tax
    5 returns, numerous credit card slips, and was well aware of the money she spent on the
    6 Debtor’s credit cards and the Debtor’s payment of her personal expenses. Her feigned
    7 willful blindness and ostrich approach to these expenditures will do absolutely nothing to
    8 limit her liability.

    9          23.     Erika has direct knowledge that for at least 12 years, all of her expenses
   10 were being paid by the Debtor as she was generating them.             Moreover, Erika has
   11 repeatedly contended, “It is expensive to be me”. In fact, there was an entire publicly
   12 aired episode on “The Real Housewives of Beverly Hills” entitled, “It’s Expensive to Be
   13 Me”. (Season 7, Episode 7). The glam cannot be supported by a sham. This decade
   14 long spending spree was improperly paid for by Erika’s community property law firm.
   15 Erika has repeatedly contended that she is entitled to any left over money from this

   16 Estate.     She has signed years of joint tax returns.     Even though knowledge is not
   17 required for liability, it is alleged she knew exactly where the money was coming from
   18 when her $175,000 per month spending budget was paid each month by the law firm on
   19 the law firms credit card issued to her personally as well as the submissions for payment
   20 were made by her and her alone. Erika directed all of her personal vendors to be paid by
   21 the law firm. Only Erika knew that her entire singing, acting, bling, brand, glam squad,
   22 and other Erika only expenses were completely funded by the Debtor. Even to this

   23 today, it is alleged that Erika continues to receive funding from other sources of unknown
   24 origin to cover her extravagant lifestyle.
   25          24.     Erika shows no sign of slowing down with the continued tax frauds which
   26 she benefitted from for years, income tax avoidance schemes referenced in this
   27 Complaint, and belief that she can just hide large sources of income under the banner of
   28 privacy.       The Trustee’s Special Litigation counsel has now been asking for many


                                                     8      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                    EXHIBIT "A"
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                  Desc
                            Main Document     Page 14 of 96
  Case 2:21-ap-01155-BR      Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21           Desc
                             Main Document     Page 9 of 52



    1 months, where is the source of income that has generated over $600,000 in expenditures
    2 to Erika personally. Erika has refused to disclose who or how she is getting access to
    3 large swaths of capital to finance frivolous legal activities and threatening letters to the
    4 Trustee’s Special Litigation Counsel. Notwithstanding the Court’s findings and exclusion
    5 of any proffered evidence, Erika continues to file frivolous appeals and takes meritless
    6 positions all geared towards hindering the Trustee’s investigation. Erika believes she is
    7 above the law and is entitled to shield and conceal her sources of capital from the
    8 Trustee’s Special Litigation Counsel notwithstanding they are not privileged.             Her

    9 reckless and shotgun approach to litigation are all consistent with her husband’s
   10 menacing and threatening litigation style. Erika directed her counsel at least five times
   11 on August 25, 2021 to threaten the Trustee’s Special Litigation Counsel with Rule 11
   12 sanctions if he did not drop most of the Trustee’s complaint.      All of Erika’s threats only
   13 prove her direct involvement in the litigation and her desperate attempts to try and
   14 intimidate her opponents with a chronic stream of motions to disrupt the investigation and
   15 the Trustee’s choice of counsel.

   16         25.    The Receivables, in the form of an open book account, has been entered
   17 and maintained each year since 2008 on the Debtor’s books and records and tax returns.
   18 The book account is based upon a contract that is implied by the parties’ conduct,
   19 business records, excel spread sheets, and other writings. Plaintiff alleges the book
   20 account had entries and were added to it from time to time. EJG and Erika had financial
   21 transactions with the Debtor.      The Debtor in a regular course of business kept an
   22 electronic account of the debits and credits of the transactions, EJG, Erika, and the

   23 successor entity PMI, owe money on the account, and the amount due is specified in
   24 paragraph 19 and elsewhere herein. The last entry for the Receivables was as recent as
   25 June 2020. Interest is accruing at 10% per year on the Receivables.
   26         26.    It is further alleged that “[a]ctions to recover on an account stated or a book
   27 account accrue on the date of the last item or entry in the account.” Prof’l Collection
   28 Consultants, Cal. App. 5th at 966, 214 Cal.Rptr.3d 419; Cal. Civ. P. Code § 337(2)


                                                     9      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                       EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51               Desc
                           Main Document     Page 15 of 96
  Case 2:21-ap-01155-BR     Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21        Desc
                            Main Document    Page 10 of 52



    1 (“Where an account stated is based upon an account of more than one item, the time
    2 shall begin to run from the date of the last item.”); R.N.C. Inc. v. Tsegeletos, 231
    3 Cal.App.3d 967, 971-972, 283 Cal.Rptr. 48 (1991) (“the four-year period of limitations on
    4 a book account begins as of the last entry in the book account.”). Ordinario v. LVNV
    5 Funding, LLC, 721 F. App'x 602, 604 (9th Cir. 2017). The statute expires for an open
    6 book account on June 20, 2024.
    7         27.   Plaintiff is informed and believes and, on that basis alleges thereon, that
    8 although demand has been made, none of the Receivables owed by the Defendants to

    9 the Debtor have been repaid to the Debtor and remain outstanding. A true and correct
   10 copy of the demand letter regarding the Receivables is attached hereto, marked as
   11 Exhibit “D” and incorporated herein by this reference. A redacted copy of her Schedule C
   12 from Erika’s 2018 personal federal income tax return is attached as Exhibit “E” showing
   13 she is the 100% owner of EJG. Statement 8 of the Schedule C specifically shows, for
   14 example, that in 2018, Erika claimed $2,127,004.00 in expenses for her own company
   15 but which were paid for by the Debtor.     The expenses detailed on Statement 8 of the

   16 Schedule C show that the Debtor paid for the professionals that created and maintained
   17 the brand Erika Jayne and benefitted only Defendant Erika. A whopping $1,466,197.00
   18 was paid for production only and $508,448.00 in professional services in 2018 alone.
   19 Erika Girardi personally signed these tax returns. Erika is charged with knowledge of the
   20 contents of the return. The expenses only benefitted her brand and performer career.
   21         28.   Plaintiff is informed and believes and, on that basis alleges thereon, that
   22 defendant Erika has used her glamor and notoriety to continue to aid and abet in sham

   23 transactions that have occurred with respect to large transfers of assets from the Debtor
   24 to the Defendants.
   25 ///
   26 ///
   27 ///
   28 ///


                                                  10      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                  EXHIBIT "A"
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                  Desc
                            Main Document     Page 16 of 96
  Case 2:21-ap-01155-BR      Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21           Desc
                             Main Document    Page 11 of 52



    1                                     FIRST CLAIM FOR RELIEF
    2                                         (Declaratory Relief)
    3         29.    Plaintiff realleges each and every allegation contained in paragraphs 1
    4 through 28 of this Complaint and, by this reference, incorporates said allegations as
    5 though set forth fully herein.
    6         30.    An actual controversy exists between the Plaintiff and the Defendants
    7 concerning their respective rights and duties in that the Trustee contends that the
    8 Defendants currently have no ownership interest in the Lottery Payments and the Luxury

    9 Items and that the Lottery Payments and the Luxury Items are property of the Estate.
   10 Whereas, the Defendants may dispute the Trustee’s contention and may assert an
   11 ownership interest in the Lottery Payments and the Luxury Items.
   12         31.    Plaintiff desires a judicial determination of her rights and duties and a
   13 declaration that the Defendants have no ownership interest in the Lottery Payments and
   14 the Luxury Items and that the Lottery Payments and the Luxury Payments are property of
   15 the Estate.

   16                                  SECOND CLAIM FOR RELIEF
   17               (Turnover Of Property Of The Estate Pursuant To 11 U.S.C. § 542(a))
   18         32.    Plaintiff realleges each and every allegation contained in paragraphs 1
   19 through 31 of this Complaint and, by this reference, incorporates said allegations as
   20 though set forth fully herein.
   21         33.    Plaintiff is informed and believes and, on that basis alleges thereon, that the
   22 Lottery Payments, the Luxury Items and the Receivables are all property of the Estate

   23 pursuant to, among other things, 11 U.S.C. § 541. Plaintiff also alleges that based upon
   24 the receipt of the benefit of the payments from the Debtor in the amount of
   25 $25,592,261.26, the Defendants shall turnover any property purchased with those
   26 payments made to vendors on the Defendants’ behalf.
   27         34.    Plaintiff is informed and believes and, on that basis alleges thereon that the
   28 Defendants are in possession, custody or control, during this bankruptcy case, of


                                                    11      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                       EXHIBIT "A"
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                  Desc
                            Main Document     Page 17 of 96
  Case 2:21-ap-01155-BR      Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21           Desc
                             Main Document    Page 12 of 52



    1 property that the Trustee may use, sell or lease under 11 U.S.C. § 363 and such property
    2 is not of inconsequential value or benefit to the Estate.
    3                                  THIRD CLAIM FOR RELIEF
    4           (Turnover Of Property Of The Estate Pursuant To 11 U.S.C. § 542(b))
    5         35.    Plaintiff realleges each and every allegation contained in paragraphs 1
    6 through 34 of this Complaint and, by this reference, incorporates said allegations as
    7 though set forth fully herein.
    8         36.    Plaintiff is informed and believes and, on that basis alleges thereon, that the

    9 Lottery Payments, the Luxury Items and the Receivables are all property of the Estate
   10 pursuant to, among other things, 11 U.S.C. § 541. Plaintiff also alleges that based upon
   11 the receipt of payments from the Debtor for $25,592,261.26, the Defendants shall
   12 turnover any property purchased with those payments made to vendors on the
   13 Defendants’ behalf.
   14         37.    Plaintiff is informed and believes that the Defendants owe a debt that is
   15 property of the Estate and that is matured, payable on demand, or payable on order and

   16 such debt may not be offset under 11 U.S.C. § 553 against a claim against the Debtor.
   17                                  FOURTH CLAIM FOR RELIEF
   18           (Avoidance Of Fraudulent Transfer, Actual Intent, Pursuant To [11
   19               U.S.C. §§ 544(b) and 548 and Cal. Civ. Code § 3439.04(a)(1))
   20         38.    Plaintiff realleges each and every allegation contained in paragraphs 1
   21 through 37 of this Complaint and, by this reference, incorporates the allegations as
   22 though set forth fully herein.

   23         39.    Plaintiff is informed and believes and, based thereon, alleges that the
   24 Transfers were made with the actual intent to hinder, delay or defraud the Debtor’s
   25 creditors.
   26         40.    By reason of the foregoing, the Transfers are avoidable pursuant to 11
   27 U.S.C. §§ 544(b) and 548 and Cal. Civ. Code § 3439.04(a)(1).
   28 ///


                                                    12      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                      EXHIBIT "A"
Case 2:20-bk-21020-BR           Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51          Desc
                                Main Document     Page 18 of 96
  Case 2:21-ap-01155-BR         Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                                Main Document    Page 13 of 52



    1                                   FIFTH CLAIM FOR RELIEF
    2          (Avoidance Of Fraudulent Transfer, Constructive Intent, Pursuant To
    3                11 U.S.C. §§ 544(b) and 548 and Cal. Civ. Code § 3439.05)
    4         41.    Plaintiff realleges each and every allegation contained in paragraphs 1
    5 through 40 of this Complaint and, by reference, incorporates the allegations as though
    6 set forth fully herein.
    7         42.    Plaintiff is informed and believes and, based thereon, alleges that the
    8 Transfers were made for less than reasonably equivalent value at a time when the Debtor

    9 was insolvent or as a result of which the Debtor became insolvent.
   10         43.    By reason of the foregoing, the Transfers are avoidable pursuant to 11
   11 U.S.C. §§ 544(b) and 548 and Cal. Civ. Code § 3439.05.
   12                                   SIXTH CLAIM FOR RELIEF
   13          (Avoidance Of Fraudulent Transfer, Constructive Intent, Pursuant To
   14            11 U.S.C. §§ 544(b) and 548 and Cal. Civ. Code § 3439.04(a)(2)(A))
   15         44.    Plaintiff realleges each and every allegation contained in paragraphs 1

   16 through 43 of this Complaint and, by reference, incorporates the allegations as though
   17 set forth fully herein.
   18         45.    Plaintiff is informed and believes and, based thereon, alleges that the
   19 Transfers were made without the Debtor receiving reasonably equivalent value in
   20 exchange for the Transfers, and that at the time of the Transfers, the Debtor was
   21 engaged or was about to engage in a business or a transaction for which their remaining
   22 assets were unreasonably small in relation to the business or transaction.

   23         46.    By reason of the foregoing, the Transfers are avoidable pursuant to 11
   24 U.S.C. §§ 544(b) and 548 and Cal. Civ. Code § 3439.04(a)(2)(A).
   25 ///
   26 ///
   27 ///
   28 ///


                                                   13     TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                   EXHIBIT "A"
Case 2:20-bk-21020-BR        Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                Desc
                             Main Document     Page 19 of 96
  Case 2:21-ap-01155-BR       Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21         Desc
                              Main Document    Page 14 of 52



    1                                  SEVENTH CLAIM FOR RELIEF
    2          (Avoidance Of Fraudulent Transfer, Constructive Intent, Pursuant To
    3           11 U.S.C. §§ 544(b) and 548 and Cal. Civ. Code § 3439.04(a)(2)(B))
    4         47.     Plaintiff realleges each and every allegation contained in paragraphs 1
    5 through 46 of this Complaint and, by this reference, incorporates the allegations as
    6 though set forth fully herein.
    7         48.     Plaintiff is informed and believes, and based thereon, alleges that the
    8 Transfers were made without the Debtor receiving reasonably equivalent value in

    9 exchange for the Transfers, and that the Debtor intended to incur, or reasonably should
   10 have believed that the Debtor would incur, debts beyond the Debtor’s ability to pay as
   11 they became due.
   12         49.     By reason of the foregoing, the Transfers are avoidable pursuant to 11
   13 U.S.C. §§ 544(b) and 548 and Cal. Civ. Code § 3439.04(a)(2)(B).
   14                                  EIGHTH CLAIM FOR RELIEF
   15               (Recovery Of Avoided Transfer Pursuant To 11 U.S.C. § 550(a))
   16         50.     Plaintiff realleges each and every allegation contained in paragraphs 1
   17 through 49 of this Complaint and, by this reference, incorporates the allegations as
   18 though set forth fully herein.
   19         51.     By reason of the foregoing, Plaintiff is entitled to recover the Transfers or
   20 their value from the Defendants pursuant to 11 U.S.C. § 550(a).
   21                                   NINTH CLAIM FOR RELIEF
   22                                         (Conversion)
   23         52.     Plaintiff realleges each and every allegation contained in paragraphs 1
   24 through 51 of this Complaint and, by this reference, incorporates the allegations as
   25 though set forth fully herein.
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   27 ///
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                                                     14      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                      EXHIBIT "A"
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                Desc
                            Main Document     Page 20 of 96
  Case 2:21-ap-01155-BR      Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21         Desc
                             Main Document    Page 15 of 52



    1         53.    The Lottery Payments, the Luxury Items and the Receivables are all
    2 property of the Estate and the Defendants have substantially, intentionally, actually and
    3 wrongfully interfered with the Plaintiff’s right of possession of the Lottery Payments, the
    4 Luxury Items and the Receivables.
    5         54.    The Defendants have refused to return the Lottery Payments, the Luxury
    6 Items and the Receivables despite Plaintiff’s demand for same and instead the
    7 Defendants have received and/or diverted the Lottery Payments, the Luxury Items and
    8 Receivables to themselves for their own benefit.

    9         55.    Plaintiff is entitled to damages against the Defendants for conversion of the
   10 Lottery Payments, the Luxury Items and the Receivables in an amount to be proved at
   11 trial pursuant to Cal. Civ. Code § 3336.
   12         56.    Plaintiff also alleges that base upon the receipt of payments from the
   13 Debtor for $25,592,261.26, the Defendants shall turnover any property purchased with
   14 those payments made to vendors on the Defendants behalf. The funds used to make
   15 those payments, on information and belief, came from wrongfully appropriated settlement

   16 funds due clients of the Debtor and other joint ventures, attorney’s fees splitting cases or
   17 other victims of the Debtor’s former owner, Thomas Girardi. Discovery will show that
   18 Erika was not entitled to the benefit of the expenses paid for her by the Debtor with other
   19 parties’ earmarked funds.
   20                                  TENTH CLAIM FOR RELIEF
   21                                    (Constructive Trust)
   22         57.    Plaintiff realleges each and every allegation contained in paragraphs 1

   23 through 56 of this Complaint and, by this reference, incorporates said allegations as
   24 though set forth fully herein.
   25
   26
   27
   28


                                                    15      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                     EXHIBIT "A"
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51               Desc
                            Main Document     Page 21 of 96
  Case 2:21-ap-01155-BR       Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21       Desc
                              Main Document    Page 16 of 52



    1         58.    By virtue of the Defendants’ wrongful acts, the Defendants hold the
    2 wrongfully acquired funds and property of the Estate and proceeds acquired in exchange
    3 for the wrongfully acquired funds and property of the Estate as constructive trustees for
    4 the benefit of the Plaintiff and the Estate.
    5                               ELEVENTH CLAIM FOR RELIEF
    6                                       (Account Stated)
    7         59.    Plaintiff realleges each and every allegation contained in paragraphs 1
    8 through 58 of this Complaint and, by this reference, incorporates said allegations as

    9 though set forth fully herein.
   10         60.    Plaintiff is informed and believes and, on that basis alleges thereon, that
   11 within the last four (4) years an account was stated in writing between the Debtor and the
   12 Defendant wherein it was agreed that the Defendants were indebted to the Debtor for the
   13 the Receivables.      The Receivables owed to the Debtor by the Defendants remain
   14 outstanding in an amount in excess of $25,000,000 or in an amount to be proved at trial,
   15 plus interest at the maximum rate permitted by law.

   16                                  TWELFTH CLAIM FOR RELIEF
   17                                     (Open Book Account)
   18         61.    Plaintiff realleges each and every allegation contained in paragraphs 1
   19 through 60 of this Complaint and, by this reference, incorporates said allegations as
   20 though set forth fully herein.
   21         62.    Plaintiff is informed and believes and, on that basis alleges thereon, that
   22 within the last four (4) years, the Defendants became indebted to the Debtor on an open

   23 book account for money due on account of the Receivables (an amount no less than
   24 $25,592,261.26 or in an amount to be proved at trial) for monies provided to or for the
   25 benefit of the Defendants and for which the Defendants agreed to pay.
   26         63.    No part of the Receivables have been paid although demand has been
   27 made and there is now due, owing, and unpaid from the Defendants to the Debtor a sum
   28 no less than $25,592,261.26 or in an amount to be proved at trial, plus interest at the


                                                     16     TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                   EXHIBIT "A"
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                  Desc
                            Main Document     Page 22 of 96
  Case 2:21-ap-01155-BR      Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21           Desc
                             Main Document    Page 17 of 52



    1 maximum rate permitted by law.
    2                             THIRTEENTH CLAIM FOR RELIEF
    3                                  (Money Had And Received)
    4         64.    Plaintiff realleges each and every allegation contained in paragraphs 1
    5 through 63 of this Complaint and, by this reference, incorporates said allegations as
    6 though set forth fully herein.
    7         65.    Plaintiff is informed and believes and, on that basis alleges thereon, that
    8 within the last four (4) years, the Defendants received and/or benefitted from the

    9 Receivables in an amount no less than $25,592,261.26 or in an amount to be proved at
   10 trial from the Debtor that was intended for the use and benefit of the Debtor.
   11         66.    No part of the Receivables have been paid although demand has been
   12 made and there is now due, owing and unpaid from the Defendants to the Debtor an
   13 amount no less than $25,592,261.26 or in an amount to be proved at trial, plus interest at
   14 the maximum rate permitted by law.
   15                             FOURTEENTH CLAIM FOR RELIEF
   16                                     (Unjust Enrichment)
   17         67.    Plaintiff realleges each and every allegation contained in paragraphs 1
   18 through 63 of this Complaint and, by this reference, incorporates said allegations as
   19 though set forth fully herein.
   20         68.    As a result of the wrongful acts of the Defendants alleged herein, the
   21 Defendants have been unjustly enriched at the expense of the Estate and its creditors.
   22 The Defendants have derived and continue to derive benefit from their wrongful acts.

   23         69.    The Defendants are under an obligation to pay the Plaintiff and the Estate
   24 all amounts by which the Defendants have been unjustly enriched in an amount
   25 according to proof.
   26 ///
   27 ///
   28 ///


                                                    17      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                       EXHIBIT "A"
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                Desc
                            Main Document     Page 23 of 96
  Case 2:21-ap-01155-BR      Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21        Desc
                             Main Document    Page 18 of 52



    1                               FIFTEENTH CLAIM FOR RELIEF
    2                                          (Accounting)
    3         70.    Plaintiff realleges each and every allegation contained in paragraphs 1
    4 through 69 of this Complaint and, by this reference, incorporates said allegations as
    5 though set forth fully herein.
    6         71.    The Defendants are in possession of money and property including, but not
    7 limited to, the Lottery Payments, the Luxury Items and the Receivables, that rightfully
    8 belong to the Estate as were fraudulently obtained by the Defendants. The amount owed

    9 by the Defendants to the Estate cannot be easily ascertained without an accounting of
   10 the money and property received by the Defendants.
   11         72.    Plaintiff also alleges that the EJG and Erika received from the Debtor
   12 $25,592,261.26. The Plaintiff needs an accounting of those funds.
   13         WHEREFORE, Plaintiff prays for judgment against the Defendants as follows:
   14         On the First Claim for Relief:
   15         1.     For a judgment that the Defendants have no ownership interest in the

   16 Lottery Payments and the Luxury Items and the Lottery Payments and the Luxury Items
   17 are property of the Estate;
   18         On the Second and Third Claims for Relief
   19         2.     For a judgment against the Defendants for turnover of the Lottery
   20 Payments, the Luxury Items, the Receivables and any profits and proceeds thereof under
   21 11 U.S.C. § 542(a) and/or 542(b);
   22         On the Fourth, Fifth, Sixth and Seventh Claims for Relief:
   23         3.     For a judgment against the Defendants that the Transfers be avoided;
   24         On the Eighth Claim for Relief:
   25         4.     For a judgment against the Defendants that the Transfers, or their
   26 respective value, be recovered for the benefit of the estate pursuant to 11 U.S.C. § 550;
   27         On the Ninth Claim for Relief:
   28         5.     For a judgment against the Defendants for conversion of the Lottery


                                                    18        TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                    EXHIBIT "A"
Case 2:20-bk-21020-BR       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                  Desc
                            Main Document     Page 24 of 96
  Case 2:21-ap-01155-BR        Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21         Desc
                               Main Document    Page 19 of 52



    1 Payments, the Luxury Items and the Receivables in an amount to be proved at trial
    2 pursuant to Cal. Civ. Code § 3336;
    3         On the Tenth Claim for Relief:
    4         6.     For a judgment against the Defendants declaring that the wrongfully
    5 acquired funds and property of the Estate and proceeds acquired in exchange for the
    6 wrongfully acquired funds and property of the Estate are held in trust for the benefit of the
    7 Plaintiff and the Estate;
    8         On the Eleventh, Twelfth and Thirteenth Claims for Relief:
    9         7.     For a judgment against the Defendants in an outstanding amount of no less
   10 than $25,592,261.26 or in an amount to be proved at trial, plus interest at the maximum
   11 rate permitted by law.
   12         On the Fourteenth Claim for Relief:
   13         8.     For a judgment against the Defendants ordering the Defendants to pay the
   14 Plaintiff and the Estate all amounts by which the Defendants have been unjustly enriched
   15 in an amount according to proof;

   16         On the Fifteenth Claim for Relief:
   17         9.     For a judgment against the Defendants ordering an accounting of all money
   18 and property received by the Defendants from the Debtor and for payment of the amount
   19 due from the Defendants as a result of the accounting;
   20         On All Claims for Relief:
   21         10.    For such other and further relief as the Court deems just and proper.
   22

   23 DATED: August 26, 2021                  Respectfully submitted,

   24                                         LAW OFFICES OF RONALD RICHARDS &
                                              ASSOCIATES, APC
   25
   26                                         By:          /s/ Ronald Richards
   27                                               Ronald Richards
                                                    Attorneys for Elissa D. Miller, Chapter 7 Trustee
   28


                                                    19      TRUSTEE’S FIRST AMENDED COMPLAINT

                                                                                      EXHIBIT "A"
Case 2:20-bk-21020-BR  Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                       Main Document     Page 25 of 96
 Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                        Main Document   Page 20 of 52




                           EXHIBIT A
                                                                  EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 26 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 21 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 27 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 22 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 28 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 23 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 29 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 24 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 30 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 25 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 31 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 26 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 32 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 27 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 33 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 28 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR  Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                       Main Document     Page 34 of 96
 Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                        Main Document   Page 29 of 52




                           EXHIBIT B
                                                                  EXHIBIT "A"
Case 2:20-bk-21020-BR                       Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                                             Main Document     Page 35 of 96
Case 2:21-ap-01155-BR                       Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                                            Main Document    Page 30 of 52




Evan C Borges
Direct Dial: (949) 383-2860
EBorges@GGTrialLaw com




June 28, 2021


VIA E-MAIL: ron@ronaldrichards.com

Ronald Richards
Special Counsel to Chapter 7 Trustee, Girardi Keese Estate
Law Offices of Ronald Richards & Associates, A.P.C.
P.O. Box 11480
Beverly Hills, CA 90213


            Re:         In re Girardi Keese; CACB Case No. 2:20-bk-21022-BR

Dear Ronald:

        This letter sets forth the agreement effective as of June 28, 2021 (the “Agreement”)
between Elissa D. Miller, in her capacity as chapter 7 trustee for bankruptcy debtor Girardi
Keese (“GK”) (the Trustee”) on the one hand, and party in interest Erika Girardi (“Ms. Girardi”)
on the other hand, regarding the proceeds of a certain check (the “Check”) dated June 9, 2021,
bearing check number                and received at the offices of GK from the State of California,
made payable to Erika N. Girardi, based on a gross amount of $26,000, from which the State of
California withheld federal taxes of $6,240.00, resulting in a net payment amount of $19,760.00
(the “Check Proceeds”).

       1.      Endorsement and Deposit of Check By Trustee in Trust Account. Ms. Girardi
consents to the Trustee endorsing the check with Ms. Girardi’s signature “for deposit only” and
depositing the check into the trust account of GK, over which the Trustee represents that she has
exclusive control. The Trustee further agrees to hold and segregate the Check Proceeds in the
GK trust account, subject to the terms of this Agreement.

        2.      Check Proceeds Retained in Trust Account. The Trustee and Ms. Girardi agree
that the Check Proceeds shall be held by the Trustee in the GK trust account and shall not be
released or distributed absent (a) a further written agreement signed by the Trustee and Ms.
Girardi, or (b) a binding and final court order.

        3.     Mutual Reservation of Rights. The Trustee and Ms. Girardi reserve all rights
and claims as to entitlement to the Check Proceeds and the subject matter of this Agreement.




       650 Town Center Drive, Suite 1700 | Costa Mesa, California 92626 | Phone (949) 383-2800 | Fax (949) 383-2801 | www.GGTrialLaw.com
                                                                                                                                  EXHIBIT "A"
Case 2:20-bk-21020-BR        Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51              Desc
                             Main Document     Page 36 of 96




 Case 2:21-ap-01155-BR         Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21             Desc
                               Main Document    Page 31 of 52



 Ronald Richards
 June 28, 2021
 Page 2


        4.      Mutual Cooperation. The Trustee and Ms. Girardi agree to cooperate with one
 another in exchanging information relevant to resolution of entitlement to the Check Proceeds
 and the subject matter of this Agreement.

         5.      Miscellaneous. This Agreement contains the entire agreement between the
 parties regarding the subject matter hereof. This Agreement may not be modified or amended
 verbally, and only may be modified or by a writing signed by both of the parties hereto. This
 Agreement may be signed in counterpart copies by pdf electronic signatures of the parties, which
 shall be deemed original signatures, and which together shall constitute the fully executed
 Agreement.

        By their signatures below, the Trustee and Ms. Girardi agree to this Agreement.

                                                   Very truly yours,




                                                   Evan C. Borges

 IT IS SO AGREED.


 By: __________________________________
       Elissa D. Miller, in her capacity as chapter 7 trustee
       for bankruptcy debtor Girardi Keese


 By: ___________________________________
       Erika Girardi




 ECB:CW




                                                                                     EXHIBIT "A"
Case 2:20-bk-21020-BR Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                       Main Document    Page 37 of 96
 Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                        Main Document    Page 32 of 52



 Ronald Richards
 June 28, 2021
 Page 2


        4.      Mutual Cooperation. The Trustee and Ms. Girardi agree to cooperate with one
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 and the subject matter of this Agreement.

         5.      Miscellaneous. This Agreement contains the entire agreement between the
 parties regarding the subject matter hereof. This Agreement may not be modified or amended
 verbally, and only may be modified or by a writing signed by both of the parties hereto. This
 Agreement may be signed in counterpart copies by pdf electronic signatures of the parties, which
 shall be deemed original signatures, and which together shall constitute the fully executed
 Agreement.

        By their signatures below, the Trustee and Ms. Girardi agree to this Agreement.

                                                   Very truly yours,




                                                   Evan C. Borges

 IT IS SO AGREED.


 By: __________________________________
       Elissa D. Miller, in her capacity as chapter 7 trustee
       for bankruptcy debtor Girardi Keese


 By: ___________________________________
       Erika Girardi




 ECB:CW




                                                                                     EXHIBIT "A"
Case 2:20-bk-21020-BR  Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                       Main Document     Page 38 of 96
 Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                        Main Document   Page 33 of 52




                           EXHIBIT C
                                                                  EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 39 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 34 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 40 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 35 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 41 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 36 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 42 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 37 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR  Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                       Main Document     Page 43 of 96
 Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                        Main Document   Page 38 of 52




                           EXHIBIT D
                                                                  EXHIBIT "A"
Case 2:20-bk-21020-BR  Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                       Main Document     Page 44 of 96
  Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                        Main Document    Page 39 of 52



                                                     LAW OFFICES OF
                                           Ronald Richards and Associates
                                                  A Professional Corporation
                                               310-556-1001 Los Angeles Office
                                                  202-508-1060 DC Office
                                                                                 Office Locations:
    *Admitted in the following
    Courts:*                                                                     Richards Law Building
    All Fed. and State Cts. in                                                   West Hollywood, CA
    California, 2nd, 9th & 11th Circuit,
    C.O.A’s, ED of Michigan, D of                                                CA Mailing Address:
    Colorado, W.D. of Tenn., District                                            PO Box 11480
    of Columbia D.C.,                                                            Beverly Hills, CA 90213
    The United States Supreme Court
    (U.S.S.C.)                                                                   DC Office Address:
    Bar Membership:                                                              1629 K ST. Suite 300
    California                                                                   Washington D.C., 20006
    District of Columbia



    EMAIL: RON@RONALDRICHARDS.COM
    WEBSITE: WWW.RONALDRICHARDS.COM



                                                August 18, 2021

 Evan C. Borges, Esq.
 Greenberg Gross LLP
 650 Town Center Drive, Suite 1700
 Costa Mesa, California 92626

 VIA EMAIL PDF: EBorges

 Dear Mr. Borges,

        As you know, our office is Special Counsel to the Trustee Elissa Miller for the
 Girardi Keese Chapter 7 Bankruptcy Estate.

         Please consider this a formal demand for payment of the receivable in favor of
 Girardi Keese against EJ Global, LLC and Erika Girardi in the amount of $25,592,261.26
 plus $2,559,226.10 in interest through June 2021. The open book account has been
 entered and maintained each year since 2008. The last entry was in June of 2020. Interest
 is accruing at 10% per year.

        I have attached a breakdown of the figure to the penny. These charges were all for
 the benefit of Erika Girardi and EJ Global, LLC, which was 100% owned by Erika Girardi.
 These charges were made by Erika Girardi and were exclusively for her benefit. Her LLC
 was filed on her personal return for many years as a Schedule C since she was the sole
 owner. Mrs. Girardi signed under penalty of perjury the return and personally approved
 the charges allocated to the breakdown.




                                                                                                     EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 45 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 40 of 52




                                                                              EXHIBIT "A"
  Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document    Page 46 of 96
     Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                           Main Document    Page 41 of 52
Girardi Keese
Summary of Net Payments Charged to EJ Global Receivable Account
For the Period 2008 - 2020

   Payee                                         Net Amount

   AMERICAN EXPRESS                            $14,259,012.84
   McDONALD SELZNICK ASSOC., INC.                1,532,774.88
   UNKNOWN                                       1,417,587.50
   PARADIGM MANAGEMENT LLC                       1,260,000.00
   KIDSQUARED, INC.                                863,880.93
   CAK ENTERTAINMENT, INC.                         450,000.00
   GREENBERG TRAURIG LLP                           260,000.00
   TROY JENSEN INC                                 252,100.00
   SANRE' ENTERTAINMENT                            220,000.00
   CITRUSONIC, LLC                                 205,838.54
   BLOC TALENT AGENCY, INC.                        171,991.50
   THE DANICA GROUP LLC                            170,108.71
   DNA INC.                                        156,600.00
   JEREMY SULLIVAN                                 150,000.00
   AWESTRUCK PRODUCTIONS, INC.                     142,800.00
   JASMINE VEGA                                    137,896.67
   MARCO BOLLINGER PHOTOGRAPHY                     134,264.00
   MMA                                             133,154.73
   CLEAR TALENT GROUP                              130,334.93
   REGINAL A. MATHIS LLC                           125,000.00
   PRESTON MENESES                                 114,500.00
   IMMACULATE ASSISTANCE AGENCY                    108,373.91
   STEPHANIE SHEPHERD                              102,596.77
   GERALD HELLER                                   100,000.00
   CLOUTIER-REMIX                                   98,012.37
   HOT ROLLER INC.                                  97,683.80
   HOCHMAN SALKIN ROSCHER PEREZ P.C.                94,111.77
   JON KOOREN                                       88,934.00
   GARY BALLEN                                      88,808.68
   ORLANDO PUERTA                                   88,000.00
   MMK MANAGEMENT                                   80,939.41
   RICHARD LEHER                                    80,000.00
   TMG INTERNATIONAL                                80,000.00
   MICHAEL NUNEZ                                    76,818.40
   BOBBY SHAW PROMOTIONS                            76,000.00
   FRANCESCO GALASSO                                75,681.00
   CENTERSTAGING MUSICAL PROD INC                   75,144.98
   ROGERS & COWEN                                   69,274.89
   MISSSHIU INC                                     66,875.00
   ARCHER PRODUCTIONS LLC                           65,628.21
   LEVINE COMMUNICATIONS OFFICE                     62,475.00


                                                                        Page 1 of 6
                                                                     EXHIBIT "A"
  Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document    Page 47 of 96
     Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                           Main Document    Page 42 of 52
Girardi Keese
Summary of Net Payments Charged to EJ Global Receivable Account
For the Period 2008 - 2020

   Payee                                         Net Amount

   MATTHIAS HEIDEMANNS                              60,000.00
   PHILIP SANDHAUS                                  60,000.00
   ELIAS TAHAN                                      59,950.00
   OUTBOUND INC.                                    59,100.00
   KIMBERLY C. KYEES                                58,875.00
   MVA PUBLIC RELATIONS GROUP                       55,000.00
   MILES HIGH PRODUCTIONS                           51,486.84
   APOLLO JETS                                      45,161.69
   JAREK RIEWER                                     44,200.00
   THE HUNGRY CREATIVE AGENCY LLC                   43,447.00
   MITCH SCHNEIDER ORGANIZATION                     42,717.12
   CHUCK OLINER                                     41,665.00
   THERESE WILLIS                                   37,017.50
   MICHAEL GATSWIRTH                                36,000.00
   RAFELSON MEDIA CONSULTING INC.                   34,300.00
   GO 2 TALENT AGENCY INC                           30,786.14
   MICHAEL GRUBER                                   30,000.00
   BRYAN CROSS, LLC                                 29,705.29
   SCOTT BARNES                                     28,300.00
   PRISCILLA RANGEL                                 28,282.40
   1645 N. VINE ST. 705, LLC                        27,980.00
   GUI SCHOEDLER                                    21,600.00
   MONGOOSE ATLANTIC, INC.                          21,140.00
   JULIANA Z. INC.                                  19,500.00
   JOHN RITTENOUR                                   18,000.00
   LORENZO CALDERON                                 17,532.00
   COLBY COLON                                      17,500.00
   OPUS BEAUTY                                      17,415.00
   ANDREW DIPALMA                                   17,000.00
   BRITTEN PARK                                     16,400.00
   MARCO BOLLINGER                                  16,350.00
   MELROSE STUDIOS, INC                             15,156.01
   JOSEPH FISHER                                    15,000.00
   MATT WATERHOUSE                                  15,000.00
   MICHAEL SCHMIDT STUDIOS INC.                     14,530.00
   LAURENTIUS PURNAMA                               14,469.00
   THE HOLLYWOOD REPORTER                           13,360.00
   BLOCNYC                                          12,970.00
   KATIE BERENSON                                   12,502.79
   MARTIN MILLIGAN                                  11,887.75
   LEE DAGGER                                       10,500.00


                                                                        Page 2 of 6
                                                                     EXHIBIT "A"
  Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document    Page 48 of 96
     Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                           Main Document    Page 43 of 52
Girardi Keese
Summary of Net Payments Charged to EJ Global Receivable Account
For the Period 2008 - 2020

   Payee                                         Net Amount

   MARC JACKSON BURROWS                             10,500.00
   LOS ANGELES TIMES MAGAZINE                       10,400.00
   ESCAPE PRODUCTIONS INC.                          10,000.00
   VIDEO STATIC                                     10,000.00
   POLITO EPPICH ASSOCIATES LLP                      9,700.00
   CoCo de Mer                                       9,029.52
   ISABEL PEREZ                                      9,000.00
   E5 GLOBAL MEDIA LLC                               8,480.00
   BLAH BLAH MUSIC LTD.                              8,223.92
   WOODMAR INC                                       7,527.54
   RALPHI ROSARIO INC.                               7,000.00
   JACOB R. ARCHER                                   6,775.00
   BERNIE GRUNDMAN MASTERING                         6,700.78
   EN ROUTE TRAVEL                                   6,191.80
   BOB GAIL ENTERPRISES,INC                          6,045.58
   HECTOR FONSECA                                    6,000.00
   KGS STUDIOS LTD                                   6,000.00
   L.A. MODELS                                       6,000.00
   TYPRODUCTIONS                                     6,000.00
   CHRIS ALBA                                        5,500.00
   EXTREMEDYS HAND & FOOT SPA                        5,160.00
   MARCO MARCO                                       5,030.00
   AMPLE ENTERTAINMENT, INC                          5,000.00
   JODY DEN BROEDER                                  5,000.00
   JOHN RUSSO PHOTOGRAPHY                            5,000.00
   JOY FERNBACH HARN                                 5,000.00
   MAMS TAYLOR                                       5,000.00
   MIXMASTERED RECORDS                               5,000.00
   THREE SIX ZERO GROUP                              5,000.00
   HSMPR                                             4,800.00
   KATHERINE DELANY                                  4,675.00
   THE LOOK PARTNERSHIP LLC                          4,500.00
   NAILS BY SARAH B                                  4,444.79
   BRANDON SHOWERS PHOTOGRAPHY                       4,052.00
   HITS MAGAZINE, INC.                               4,000.00
   MDM ARTISTS, INC.                                 4,000.00
   UNDOCUMENTED MANAGEMENT                           4,000.00
   WIZARDZ OF OZ                                     3,900.00
   COLIN YEO                                         3,800.00
   THE BASEMENT DANCE CENTER                         3,575.00
   SIMON THIRLAWAY INC.                              3,500.00


                                                                        Page 3 of 6
                                                                     EXHIBIT "A"
  Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document    Page 49 of 96
     Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                           Main Document    Page 44 of 52
Girardi Keese
Summary of Net Payments Charged to EJ Global Receivable Account
For the Period 2008 - 2020

   Payee                                         Net Amount

   PREMIERE VALET SERVICE                             3,330.00
   PETER GALVIN PRODUCTIONS                           3,288.91
   FRANCHISE TAX BOARD                                3,256.96
   GORDON LAKE                                        3,200.00
   POWER PROMOTIONS                                   3,187.30
   DUN & COMPANY                                      3,072.10
   BILL HAMEL, INC.                                   3,000.00
   CHRIS BREDESEN                                     3,000.00
   COTTON GRAPHIC DESIGN                              3,000.00
   DJ LYNWOOD GROUP OF COMPANIES                      3,000.00
   RICHIE PANGILINAN                                  3,000.00
   SAMUEL PISENO                                      3,000.00
   TARA, INC.                                         3,000.00
   TKC ENTERTAINMENT                                  3,000.00
   TOO BOB FOR YOUR MOM                               3,000.00
   TRENDSETTER MEDIA & MARKETING                      3,000.00
   VINCENT PASSERI                                    3,000.00
   WILLIAM CLARK                                      3,000.00
   KIMBLE HAIR STUDIO                                 2,980.29
   QBT MEDIA COMPANY                                  2,980.19
   LIGHTENUP, INC.                                    2,925.00
   JASON LEDER                                        2,825.00
   CHRISTINE D'ANGELO                                 2,646.12
   SOUNDCHECK LA, LLC                                 2,571.00
   GUY FURIOUS PRODUCTIONS                            2,500.00
   ODYSSEY MAGAZINE                                   2,500.00
   SACHA COLLISSON                                    2,500.00
   ARNE KNUDSEN                                       2,431.66
   ANTHONY SPENCER                                    2,275.00
   KIMMIE K                                           2,250.00
   ELECTRO LIGHTING, LLC                              2,200.00
   KIM KIMBLE                                         2,100.00
   STAGE THIS                                         2,020.00
   WARREN CONFECTIONS CORP.                           2,006.58
   HED PRODUCTIONS                                    2,000.00
   SURFER ROSA RECORDS                                2,000.00
   SEAN KAYSEN                                        1,950.00
   GRID AGENCY, INC.                                  1,800.00
   KENNETH WORMALD                                    1,800.00
   SETOLOGY                                           1,800.00
   BRINN BIERMAN                                      1,700.00


                                                                        Page 4 of 6
                                                                     EXHIBIT "A"
  Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document    Page 50 of 96
     Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                           Main Document    Page 45 of 52
Girardi Keese
Summary of Net Payments Charged to EJ Global Receivable Account
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   Payee                                         Net Amount

   CANDICE CRAIG                                      1,700.00
   ERIN HERNANDEZ                                     1,700.00
   JAMIE RUIZ                                         1,700.00
   HONEYGUN LABS LLC                                  1,500.00
   MICHAEL CARR                                       1,500.00
   ONE STOP DIGITAL, INC.                             1,500.00
   PICNIC                                             1,500.00
   SUSANNE BARTSCH                                    1,500.00
   STEELE VFS, INC.                                   1,435.00
   FRANK GALASSO                                      1,400.00
   HEATHER HANES                                      1,250.00
   ROBERT HOFFMAN                                     1,250.00
   STARWORKS ARTISTS, LLC                             1,200.00
   NIGHTS OF NEON, INC                                1,190.83
   KIMBERLY McALLISTER                                1,150.00
   AMPED UP, LLC                                      1,121.00
   JEREMIAH PITMAN                                    1,100.00
   MARIO DEDIVANOVIC                                  1,000.00
   MICHAEL DES BARRES                                 1,000.00
   QUYNH STANLEY                                      1,000.00
   JASON WAWRO                                          950.00
   GROVEMASTERING                                       875.00
   CUSTOM LIGHTING                                      850.00
   PATRICIA WILLIAMS                                    800.00
   CAPRICE                                              775.00
   JOSEPH CORRIGAN                                      750.00
   PURE MANAGEMENT NYC, LLC                             720.00
   JIMMY'S PERMIT SERVICE                               684.00
   DICK SMART                                           666.67
   PHIL LUJAN                                           645.83
   AXION BUSINESS GROUP                                 630.63
   BRANDON NIZNIK                                       600.00
   CRAIG STULL                                          600.00
   LISA MITCHELL METHOD, INC                            600.00
   ANDREW R. POLAND                                     550.00
   DERRICK ARMAND                                       550.00
   IRA BOYD                                             550.00
   JOSHUA LINKEY                                        550.00
   STEVE FRANCIS                                        550.00
   SIGN CENTRAL                                         533.88
   DYLAN ZWICKER                                        525.00


                                                                        Page 5 of 6
                                                                     EXHIBIT "A"
  Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document    Page 51 of 96
     Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                           Main Document    Page 46 of 52
Girardi Keese
Summary of Net Payments Charged to EJ Global Receivable Account
For the Period 2008 - 2020

   Payee                                         Net Amount

   JEFF WESSELS                                        525.00
   ROBERT DOWLING                                      525.00
   VICTOR G. MAJOR                                     525.00
   ERNEST WALTON                                       500.00
   JARMAN, INC.                                        500.00
   KATHERINE BORMAN                                    500.00
   LEO ABRAHAM                                         500.00
   MATES, INC.                                         450.00
   DAVID BALLEN                                        400.00
   LOS ANGELES COUNTY FIRE DEPT.                       386.37
   SO CAL SANITATION                                   380.00
   SEAN SPILLANE                                       340.00
   CHAD MICHAEL MORISETTE                              305.00
   DAVONEE SOU                                         300.00
   OCTAVIO SANCHEZ                                     300.00
   SHAMEL PUBLICATIONS, INC.                           300.00
   BRENDAN CRAIGHILL                                   250.00
   DEANNA DELLACIOPPA                                  250.00
   KAREN BLAKEMAN                                      250.00
   BUSINESS FILINGS DIVISION                           239.00
   CHAD MICHAEL                                        225.00
   ANTHONY ORTIZ                                       200.00
   MICHAEL J. COHEN                                    200.00
   ANNUAL FILING DIVISION                              195.00
   ANA RUTH SANTIZO                                    120.00
   BUNKER PRINTING                                     100.00
   LOS ANGELES TIMES                                   100.00
   OFFICE OF FINANCE, CITY OF LA                        80.06
   SECRETARY OF STATE                                   66.00

   Total                                       $25,592,261.26




                                                                        Page 6 of 6
                                                                     EXHIBIT "A"
Case 2:20-bk-21020-BR  Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                       Main Document     Page 52 of 96
 Case 2:21-ap-01155-BR Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21 Desc
                        Main Document   Page 47 of 52




                           EXHIBIT E
                                                                  EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 53 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 48 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                           Main Document     Page 54 of 96
   Case 2:21-ap-01155-BR    Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21    Desc
                            Main Document    Page 49 of 52




                                                                              EXHIBIT "A"
Case 2:20-bk-21020-BR                                        Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                                                                                       Desc
                                                             Main Document     Page 55 of 96
        Case 2:21-ap-01155-BR                                      Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21                                                                        Desc
                                                                   Main Document    Page 50 of 52

2018                                                                     FEDERAL STATEMENTS                                                                                                      PAGE3
CLIENT GIRATHO                                                         THOMAS V. AND ERIKA N. GIRARDI
10/1 1/1 9                                                                                                                                                                                               01 :41PM

    STATEMENT7




    STATEMENT S -PERFORMER
    SCHEDULE C1,PART V
    OTHER EX PENSES

    AGENT EXPENSE..... .. . . . . . . ... . ... . . .. . .. . ... . ..... .. . . .. . .. . . . . . . ... . .. . .... .... ..... ... .. ... ... $                                                      61,964.
    BANK CHARGES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   10 3 .
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    MARKETING. ... ... . ..... . .. .. . ....... .. . .. ... .. . .. . . ..... .... ..... ... . ... ... . . . . .... . ....... .. . . ....                                                            66,247.
    PHOTOGRAPHY . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              3, 310 .
    POSTAGE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     1, 0 4 9 .
    PRODUCTION.. ... .. . .. ... . ... .. . ... . .. ........... . .. . ... .. . .. .. .. . ..... .. ....... ... .... .. . ... ... .. .                                                            1,466,197.
    PROFESSIONAL SERVICES . . . . . . . . . ... . . . . . . . . . . . . . . . .. . . . . . . . . .. . . . . ... . . . . . . . . . . . . . . . . . . ... . . .                                        508,448 .
    PROMOTION. ... . .. ............ . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . .                          4,456.
    SECURITY.. .. . .. .. . ... . .. . .... . . . .... . .... . .... . .. . .. .. .... . .. . ..... ..... .. ... .. . . . ...... .. . .......                                                              706.
    TELEPHONE. .. ... . .. .. -- .. . ... .. . .... .. ... . ..... . .... . .. . ....... --... ...... ... . . . .. . .. . ..... TOTAL ~$-2,,....,~1=2~""":--:-l.....                                      a~i-'-:


    STATEMENT9

                   RENTAL AND ROYALT Y EXPENSES




                                                                                                                                                                                       EXHIBIT "A"
        Case 2:20-bk-21020-BR                      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                                              Desc
                                                   Main Document     Page 56 of 96
         Case 2:21-ap-01155-BR                     Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21                                     Desc
                                                   Main Document    Page 51 of 52



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
PO Box 11480
Beverly Hills, CA 90213


A true and correct copy of the foregoing document entitled (specify): __________________________________________
amended complaint
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 26, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                         X    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                              Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 23, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.




                                                                                              Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 August 26, 2021              Ronald Richards                                                   /s Ronald Richards
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                                                                                                                     EXHIBIT "A"
Case 2:20-bk-21020-BR           Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51         Desc
                                Main Document     Page 57 of 96




Case 2:21-ap-01155-BR           Doc 12 Filed 08/26/21 Entered 08/26/21 12:33:21         Desc
                                Main Document    Page 52 of 52


2:21-ap-01155-BR Notice will be electronically mailed to:

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2:21-ap-01155-BR Notice will not be electronically mailed to:




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Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51   Desc
                        Main Document     Page 58 of 96




                EXHIBIT "B"
    Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                             Main Document      Page 59 of 96
      Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 1 of 36 PageID #:925




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


EDELSON PC,                      )
                                 )
            Plaintiff,           )
                                 )
      vs.                        )
                                 )
THOMAS GIRARDI, GIRARDI KEESE, )
ERIKA GIRARDI, EJ GLOBAL LLC,    )
GIRARDI FINANCIAL, INC., DAVID   )                        Case No. 20 C 7115
LIRA, KEITH GRIFFIN, JOHNSON     )
HUTCHINSON & LIRA LLP, ROBERT )
FINNERTY, ABIR COHEN TREYZON )
SALO, LLP, CALIFORNIA ATTORNEY )
LENDING II, INC., STILLWELL      )
MADISON, LLC, and JOHN DOE 1-10, )
                                 )
            Defendants.          )

                         MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

        Edelson PC brought this suit seeking to recover money it contends it is owed and

disgorgement of money owed to clients in an underlying matter. Defendants David Lira

and Keith Griffin have moved to dismiss the claims against them. Pursuant to Federal

Rule of Civil Procedure 12(b)(2), Griffin contends that the Court lacks personal

jurisdiction over him. Lira, under Federal Rules of Civil Procedure 12(b)(1) and

12(b)(3), asserts that the Court lacks subject matter jurisdiction; this district is an

improper venue for litigating these claims; and the claims against him must be

automatically stayed under the Bankruptcy Code. 1



1Lira includes Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6) in his motion's title
but does not advance any arguments related to these rules.
                                                                                     EXHIBIT "B"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                            Main Document       Page 60 of 96
      Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 2 of 36 PageID #:926




                                         Background 2

         Edelson alleges that Lira and Griffin, then attorneys at the law firm Girardi Keese,

worked together with Thomas Girardi to embezzle settlement proceeds, commingled

those proceeds with attorneys' fees that belonged to Edelson, and shared in the illicit

profits.

         At the center of the parties' dispute is litigation that followed a tragedy. In

October 2018, as the result of a fundamental system failure, Lion Air Flight 610 plunged

into the Java Sea. All 189 people on board were killed. Investigators determined that

the aircraft's anti-stall system had malfunctioned. The malfunction that caused Flight

610 to crash was attributed to design defects and other failures by the Boeing

Company, the plane's designer and manufacturer.

         Nearly a dozen families of those who perished retained Girardi Keese, a

California-based firm, to represent them in litigation against Boeing. 3 Because the

litigation took place in Chicago, Girardi Keese contracted with Edelson so that Edelson's

attorneys would serve as local counsel and assist in the litigation and settlement

process.

         Two contracts governed the relationship between Girardi Keese and Edelson.

The first contract provided that Edelson would receive 50 percent of the total attorneys'




2The following facts are drawn from Edelson's complaint. Because the Court is
considering a motion to dismiss, the Court accepts as true the well-pleaded factual
allegations in the complaint and views those allegations in the light most favorable to
Edelson. See Menzies v. Seyfarth Shaw LLP, 943 F.3d 328, 332 (7th Cir. 2019).
3   See In Re: Lion Air Flight JT 610 Crash, No. 18 C 7686 (N.D. Ill.).
                                                2

                                                                                           EXHIBIT "B"
Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document       Page 61 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 3 of 36 PageID #:927




fees recovered by a specific portion of the clients. Griffin presented and executed this

contract. The second contract guaranteed that Edelson would receive 20 percent of the

total attorneys' fees recovered for another set of clients. Lira presented and executed

the second contract.

       In 2020, the parties finalized individual settlements for each of the families Girardi

Keese and Edelson represented. The litigation against Boeing was dismissed on

February 24, 2020. Girardi Keese maintained total and exclusive control over

communications with the clients throughout the litigation and the post-settlement

process. Therefore, Boeing transferred the clients' settlement payments to Girardi

Keese, whose attorneys were responsible for disbursing funds to the clients.

       Between February 2020 and December 2020, Edelson attorneys were in

frequent communication with Lira and Griffin about the status of the settlement. Initially,

through April and May, Griffin and Lira maintained that Girardi Keese had not received

any settlement funds because Boeing would fund the settlements only after it had

received all the clients' executed settlement agreements and releases. When Boeing

signaled publicly that it would consider bankruptcy, an Edelson attorney expressed

concern about the delay in finalizing the settlements. Lira responded by e-mail and

repeated that Boeing would release the settlement funds after receiving the agreements

and releases. Lira further explained that the settlement funds were paid by Boeing's

insurer and were secured in an escrow account.

       In June 2020, Lira informed Edelson that he had left Girardi Keese. During a

phone call with an unidentified person at Edelson, Lira said the settlement had been

funded and that "the bulk of the funds were received and held by" Girardi Keese. Lira



                                             3

                                                                                     EXHIBIT "B"
Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document       Page 62 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 4 of 36 PageID #:928




wondered which firm should be held responsible for paying Edelson's share of the

attorneys' fees—Girardi Keese or his new firm. Edelson asked whether the clients had

received their proceeds from the settlements, but Lira "failed to provide a coherent

answer." Compl. ¶ 46. Then, in July 2020, Lira sent a letter to Edelson asserting that

some of the firms' clients had received their settlement proceeds, and some had not.

With his letter, Lira included a portion of the attorneys' fees owed to Edelson and

indicated that this was a partial payment of what was owed to the firm.

       Edelson did not cash the check. Instead, it sent a letter to both Girardi and Lira

inquiring on the status of the settlement payouts and declining to "accept any monies

until [it was] given adequate assurances that each and every one of our collective

clients . . . received the entirety of the monies owed." Id. ¶ 47. Lira responded but did

not say which clients had received full settlement payments and whether any clients

were still owed money. He further explained that because he was no longer with Girardi

Keese, he no longer had any ongoing involvement in the cases. Lira directed further

questions to Griffin and Girardi, Girardi Keese's sole equity partner.

       In July 2020, Edelson's managing partner, Rafi Balabanian, took the lead in

communicating with Girardi Keese. When Balabanian contacted Girardi and Griffin, he

received many of the same answers Edelson's other attorneys had already received.

Griffin said that though Boeing had fully funded the settlements, the clients had not yet

received the full amount owed to them. He estimated that the clients were still owed

about half of the settlement amount. Griffin said he could not explain why the clients

had not received their full settlements or when they would receive the remaining

proceeds because Thomas Girardi had exclusive control over the firm's bank accounts,



                                             4

                                                                                      EXHIBIT "B"
Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document       Page 63 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 5 of 36 PageID #:929




including the client trust accounts. And, Griffin said, Girardi was not available to answer

questions about this matter because he was unavailable due to serious illness.

       Later in July, Balabanian was finally able to speak with Girardi. To the extent

Girardi provided an explanation for the delay, he blamed his illness and his clients' late

submission of the settlement agreements and releases. He promised to disburse the

remaining money within a few days and said he would follow up once he had done so.

Girardi kept neither promise. Balabanian spoke to Girardi again in August 2020—after

several unsuccessful attempts to touch base. Girardi took umbrage at Balabanian's

inquiries but nevertheless reported that he had made arrangement for his clients to

receive the remainder of the money owed.

       In September 2020, Griffin told Balabanian that Girardi Keese had wired half of

the outstanding amount to clients, with the other half ready to be sent the next week.

But although Griffin said he would send proof of the wired funds, he never did.

Regardless, Edelson attorneys were under the impression that the clients had been

paid and all that remained to be paid were its own fees. In November 2020, Lira wrote

Edelson that Girardi had transferred some portion of the attorneys' fees generated from

the litigation to a litigation funder. Edelson expressed concern, again.

       When Balabanian talked with Griffin next—Girardi was again receiving medical

treatment—he learned that Girardi had not paid his clients the remaining amount due.

Worse, Griffin said that he was skeptical that Girardi or the Girardi Keese firm had the

financial means to satisfy the firm's obligations to its clients or to Edelson. In the final

analysis, a substantial portion of the settlement funds were never disbursed to Girardi

Keese's clients, and Edelson was never paid the share of the attorneys' fees it was



                                              5

                                                                                      EXHIBIT "B"
Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document       Page 64 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 6 of 36 PageID #:930




owed.

        In December 2020—after Edelson filed the complaint in this case—a number of

Girardi Keese's creditors filed involuntary Chapter 7 bankruptcy petitioners against the

firm and Girardi in the United States Bankruptcy Court for the Central District of

California. The bankruptcy court opened Chapter 7 cases against the firm and Girardi,

and trustees have been appointed to manage the respective estates. Neither Lira nor

Griffin has filed for bankruptcy.

                                         Discussion

        Before turning to the merits, the Court addresses the standards for considering

the defendants' motions. Griffin challenges the sufficiency of Edelson's complaint under

Rule 12(b)(2). A complaint is not deficient just because facts demonstrating personal

jurisdiction are not included among the complaint's allegations. Purdue Rsch. Found. v.

Sanofi-Synthelabo, S.A., 338 F.3d 773, 782 (7th Cir. 2003). When a defendant moves

to dismiss a complaint under Rule 12(b)(2), however, the plaintiff must establish the

existence of jurisdiction. Curry v. Revolution Lab'ys, LLC, 949 F.3d 385, 392 (7th Cir.

2020) (internal quotation marks omitted). When, as here, a court has not held an

evidentiary hearing (Griffin did not seek one), the plaintiff only bears "the burden of

making a prima facie case for personal jurisdiction." Id. at 393.

        When considering a Rule 12(b)(2) motion, the Court is permitted to consider

affidavits, but "in evaluating whether the prima facie standard has been satisfied, the

plaintiff is entitled to the resolution in its favor of all disputes concerning relevant facts

presented in the record." Id. (alterations accepted) (internal quotation marks omitted).

Therefore, though the Court must accept as true "any facts in the defendants' affidavits



                                               6

                                                                                        EXHIBIT "B"
Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document       Page 65 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 7 of 36 PageID #:931




that do not conflict with anything in the record," id., "[t]he plaintiff is entitled to have any

conflicts in the affidavits (or supporting materials) resolved in its favor." Purdue Rsch.

Found., 338 F.3d at 783.

       Lira seeks dismissal under Rules 12(b)(1) and (b)(3). He first challenges

Edelson's standing under Rule 12(b)(1). When considering a challenge to subject

matter jurisdiction, "the court must first determine whether a factual or facial challenge

has been raised." Silha v. ACT, Inc., 807 F.3d 169, 173 (7th Cir. 2015). In a facial

challenge to subject matter jurisdiction, the defendant argues that the plaintiff has

insufficiently alleged a basis for subject matter jurisdiction. Id. Because the plaintiff is

the party who invoked federal jurisdiction, when faced with a facial challenge, he "bears

the burden of establishing the required elements of standing." Lee v. City of Chicago,

330 F.3d 456, 468 (7th Cir. 2003)

       In a factual challenge, the defendant contends that "the complaint is formally

sufficient but . . . that there is in fact no subject matter jurisdiction." Apex Digital, 572

F.3d at 444 (internal quotation marks omitted). When weighing factual challenges, a

court must look past "the jurisdictional allegations of the complaint and view whatever

evidence has been submitted on the issue to determine whether in fact subject matter

jurisdiction exists." Id. (internal quotation marks omitted). Plaintiffs undergoing a factual

challenge to standing must establish standing by a preponderance of the evidence.

See Kathrein v. City of Evanston, 636 F.3d 906, 914 (7th Cir. 2011).

       Rule 12(b)(3) allows dismissal for improper venue. RAH Color Techs., LLC v.

Quad/Graphics, Inc., No. 17 C 4931, 2018 WL 439210, at *1 (N.D. Ill. Jan. 16, 2018).

When reviewing a motion to dismiss under 12(b)(3), courts "assume[ ] the truth of the



                                                7

                                                                                         EXHIBIT "B"
Case 2:20-bk-21020-BR     Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document       Page 66 of 96
     Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 8 of 36 PageID #:932




allegations in the plaintiff's complaint, unless contradicted by the defendant's affidavits.”

Deb v. SIRVA, Inc., 832 F.3d 800, 809 (7th Cir. 2016). The "low" burden of establishing

proper venue rests with the plaintiff. RAH Color Techs., LLC, 2018 WL 439210, at *1

("[T]he plaintiff's burden in defending a Rule 12(b)(3) motion is low because courts

resolve factual conflicts in the plaintiff's favor.").

A.     Griffin's motion to dismiss

       With the proper standards in mind, the Court begins its analysis by considering

the issue of personal jurisdiction. This case was brought under the Court's diversity

jurisdiction. See 28 U.S.C. § 1332. As such, the Court may exercise personal

jurisdiction only if an Illinois state court would have jurisdiction over the defendant. See

Citadel Grp. Ltd. v. Washington Reg'l Med. Ctr., 536 F.3d 757, 760 (7th Cir. 2008) ("A

federal court sitting in diversity has personal jurisdiction only where a court of the state

in which it sits would have such jurisdiction."). Illinois law permits its courts to exercise

jurisdiction to the extent allowed by both the Illinois and federal constitutions. Colucci v.

Whole Foods Mkt. Servs., Inc., No. 19-CV-8379, 2021 WL 1222804, at *2 (N.D. Ill. Apr.

1, 2021); 735 Ill. Comp. Stat. 5/2-209(c). Because "the Illinois Constitution is co-

extensive with the Federal Constitution, jurisdiction is proper as long as it meets due

process requirements." Id. (citing Noboa v. Barcelo Corporacion Empresarial, SA, 812

F.3d 571, 572 (7th Cir. 2016)); see also Citadel Grp. Ltd., 536 F.3d at 761 ("We have

previously noted . . . that no case has yet emerged where due process was satisfied

under the federal constitution but not under the Illinois constitution . . . . thus, we will

proceed with the federal analysis.").

       There are two types of personal jurisdiction, general and specific. Goodyear



                                                 8

                                                                                        EXHIBIT "B"
Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document       Page 67 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 9 of 36 PageID #:933




Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011). General jurisdiction

exists only "in the limited number of fora in which the defendant can be said to be 'at

home.'" Advanced Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d

796, 800 (7th Cir. 2014), as corrected (May 12, 2014). Specific jurisdiction, by contrast,

exists when a "defendant’s contacts with the forum" are "directly related to the conduct

pertaining to the claims asserted." Brook v. McCormley, 873 F.3d 549, 552 (7th Cir.

2017).

         Griffins argues that the Court does not have general jurisdiction over him

because he is not and never has been domiciled in Illinois. Edelson makes no

counterargument. Therefore, the Court will limit its discussion to specific personal

jurisdiction. Cf. Rogers v. City of Hobart, 996 F.3d 812, 818 (7th Cir. 2021) ("Here, Mr.

Rogers focuses solely on [specific jurisdiction], so we need not evaluate whether he

could show general jurisdiction.").

         Specific jurisdiction exists when: (1) "the defendant’s contacts with the forum

state . . . show that it purposefully availed itself of the privilege of conducting business in

the forum state or purposefully directed its activities at the state"; (2) "the plaintiff’s

alleged injury . . . [arose] out of the defendant’s forum-related activities"; and (3) "any

exercise of personal jurisdiction must comport with traditional notions of fair play and

substantial justice." Lexington Ins. Co. v. Hotai Ins. Co., Ltd., 938 F.3d 874, 878 (7th

Cir. 2019) (alterations accepted) (internal quotation marks omitted).

         1.     Purposeful availment

         "[T]he nature of the purposeful-direction/purposeful-availment inquiry depends in

large part on the type of claim at issue." Felland v. Clifton, 682 F.3d 665, 674 (7th Cir.



                                                9

                                                                                         EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document        Page 68 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 10 of 36 PageID #:934




2012). To determine whether a defendant has purposefully availed himself of the

privilege of conducting business in the forum state, courts look to see if there are

"minimum contacts between the defendant and the forum State." Lexington Ins. Co.,

938 F.3d at 879 (internal quotation marks omitted). A defendant may not be "haled into

a jurisdiction solely as a result of random, fortuitous, or attenuated contacts, or of the

unilateral activity of another party or third person." Curry, 949 F.3d at 396 (internal

quotation marks omitted).

       In a breach-of-contract suit, personal jurisdiction typically will turn "on whether

the defendant purposefully availed himself of the privilege of conducting business in the

forum state." Felland, 682 F.3d at 674; see also Tamburo v. Dworkin, 601 F.3d 693,

702 (7th Cir. 2010) ("Personal jurisdiction in breach-of-contract actions often turns on

whether the defendant 'purposefully availed' himself of the privilege of conducting

business or engaging in a transaction in the forum state."). By contrast, the personal

jurisdiction inquiry in a case involving an intentional tort typically focuses "on whether

the conduct underlying the claim was purposely directed at the forum state." Felland,

682 F.3d at 674 (alterations accepted) (internal quotation marks omitted) (citing

Tamburo, 601 F.3d at 702). There are three requirements to demonstrate "purposeful

direction" in the intentional torts context: "(1) intentional conduct (or 'intentional and

allegedly tortious' conduct); (2) expressly aimed at the forum state; (3) with the

defendant's knowledge that the effects would be felt—that is, the plaintiff would be

injured—in the forum state." Tamburo, 601 F.3d at 703.

       "The relevant contacts are those that center on the relations among the

defendant, the forum, and the litigation." Advanced Tactical Ordnance Sys., 751 F.3d at



                                              10

                                                                                       EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document        Page 69 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 11 of 36 PageID #:935




801. But not all contacts are created equal. Purposeful availment is demonstrated

through the defendant's suit-related conduct and that conduct's substantial connection

with the forum state. Id. "The mere fact that defendant's conduct affected plaintiffs with

connections to the forum [state] does not suffice to authorize jurisdiction." Id.

(alterations accepted) (internal quotation marks omitted); see also Walden v. Fiore, 571

U.S. 277, 285 (2014) (stating that minimum contacts are "the defendant's contacts with

the forum [state] itself, not the defendant's contacts with persons who reside there").

"Contacts between the plaintiff or other third parties and the forum do not satisfy this

requirement." Advanced Tactical Ordnance Sys., 751 F.3d at 801.

       Turning to the case before the Court, Edelson asserts that several facts

demonstrate Griffin's purposeful availment. First, in order to litigate in Illinois, Griffin

prepared and executed with Edelson one of the two contracts that retained Edelson as

local counsel. Second, Griffin submitted petitions to practice pro hac vice in Illinois,

designated a Chicago-based Edelson attorney as his associated Illinois attorney, and

registered with the Illinois Attorney Registration and Disciplinary Commission (IARDC).

And third, Griffin flew to Chicago on separate occasions to participate in in-person

mediations for the Lion Air case.

       Griffin disagrees. He says he was, at all times identified in the complaint, "a W-2

employee" of Girardi Keese. Dkt. no. 42-9 ¶ 1. Given his status as an employee, Griffin

argues that during the relevant times, his actions were on behalf of his employer and

"cannot be manipulated into any individual conduct of purposeful availment." Griffin's

Br. at 10. In other words, Griffin contends that the contacts cited by Edelson are

irrelevant because they were undertaken not on his own behalf but on behalf of his



                                               11

                                                                                        EXHIBIT "B"
Case 2:20-bk-21020-BR     Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document       Page 70 of 96
    Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 12 of 36 PageID #:936




employer. 4

       With regard to the Court's jurisdiction over Edelson's contract claims (breach of

contract and unjust enrichment), the Court concludes that Griffin purposefully availed

himself "of the privilege of conducting business or engaging in a transaction" in Illinois.

See Tamburo, 601 F.3d at 702. Several facts support this conclusion. First, the fee-

sharing contract that Griffin executed. The Supreme Court has "emphasized that

parties who reach out beyond one state and create continuing relationships and

obligations with citizens of another state are subject to regulation and sanctions in the

other State for the consequences of their activities." Burger King Corp. v. Rudzewicz,

471 U.S. 462, 473 (1985) (internal quotation marks omitted); see also Walden, 571 U.S.

at 285 ("Accordingly, we have upheld the assertion of jurisdiction over defendants who

have purposefully 'reach[ed] out beyond' their State and into another by, for example,

entering a contractual relationship that 'envisioned continuing and wide-reaching

contacts' in the forum State.").

       At bottom, the complaint alleges that Griffin did just that. The complaint alleges

that Girardi Keese wanted to engage Edelson as local counsel so that Griffin could




4 In his reply brief, Griffin argues that personal jurisdiction is barred by Illinois's so-called
fiduciary shield doctrine, which "denies personal jurisdiction over an individual whose
presence and activity in the state in which the suit is brought were solely on behalf of his
employer or other principal." See Fletcher v. Doig, 125 F. Supp. 3d 697, 716 (N.D. Ill.
2014) (internal quotation marks omitted). That argument was not made in his initial
brief. Instead, Griffin cited only federal caselaw and (seemingly) argued that his status
as an employee precluded personal jurisdiction under federal due process principles.
See Griffin's Br. at 9–10. Thus, Griffin's argument under the fiduciary shield doctrine is
forfeited. See O'Neal v. Reilly, 961 F.3d 973, 974 (7th Cir. 2020) ("[W]e have
repeatedly recognized that district courts are entitled to treat an argument raised for the
first time in a reply brief as waived.").
                                               12

                                                                                        EXHIBIT "B"
Case 2:20-bk-21020-BR     Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document       Page 71 of 96
    Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 13 of 36 PageID #:937




appear in Illinois courts on behalf of the Lion Air clients. 5 Griffin, on behalf of Girardi

Keese, signed and executed an agreement to this effect. He, along with other

defendants, received and benefited from the legal services provided by Edelson in

Illinois. Though Griffin argues that he was not a party to the agreement he signed—a

fact that is arguably neither dispositive in or even important to determining whether he

purposefully availed himself of Illinois and its laws—the complaint alleges otherwise.

See Compl. ¶ 106 ("Defendants GK, Girardi, and Griffin, and Lira breached their

contractual obligations by not paying Edelson its share of attorney's fees."). At this

stage, the Court accepts the well-pleaded allegations from the complaint. See Menzies,

943 F.3d at 332.

       The second and third facts that Edelson offers to support personal jurisdiction are

that Griffin requested permission to practice pro hac vice in Illinois and registered with

the IARDC, the administrative agency charged with regulating Illinois's lawyers. Finally,

Edelson says, Griffin traveled to Chicago on two occasions to participate in in-person

mediations that resulted in the Lion Air settlements at issue in this case. See Walden,

571 U.S. at 285 ("And although physical presence in the forum is not a prerequisite to

jurisdiction . . . physical entry into the State—either by the defendant in person or

through an agent, goods, mail, or some other means—is certainly a relevant contact.").

These are not "random, fortuitous, or attenuated contacts." See Curry, 949 F.3d at 396

(internal quotation marks omitted). Rather, each was deliberate and directly connected




5Griffin contends that he did not appear in the Lion Air Illinois state court proceedings or
make an appearance in federal court once the case was removed. Griffin's Reply Br. at
3. He does not explain why this would matter, but in any event his non-appearance
would not undermine or negate his other contacts with Illinois.
                                              13

                                                                                        EXHIBIT "B"
Case 2:20-bk-21020-BR   Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document        Page 72 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 14 of 36 PageID #:938




to the matters at issue in the present case.

       Regarding jurisdiction over Edelson's intentional tort claim (conversion), the

Court concludes that Edelson has sufficiently shown that Griffin's alleged conduct with

respect to that claim was purposely directed at Illinois. See Tamburo, 601 F.3d at 702.

There can be no question that the complaint alleges Griffin's conduct was intentional.

Edelson alleges that Griffin participated in the "theft and subsequent cover-up" of the

Lion Air settlement proceeds paid by Boeing. Pl.'s Resp. Br. at 17; see Compl. ¶¶ 40–

56. Likewise, there can be no doubt Griffin knew his conduct, to the extent it deprived

Edelson of fees it was owed, was aimed at or would be felt in Illinois, the state where

Edelson is based. Edelson alleges that Griffin and his co-defendants assumed control

of the agreed upon attorney's fees, deprived Edelson of this property, and despite

multiple demands refused to transfer Edelson the amount it was owed. See Compl. ¶¶

114–20.

       Griffin argues that because all of these contacts were in furtherance of his

employer's interest, he cannot have purposefully availed himself of Illinois and its laws.

That argument does not wash. (Again, Griffin has forfeited for present purposes the

fiduciary shield argument asserted for the first time in his reply brief.) Federal due

process principles do not permit Griffin to use his status as an employee to shield him

from personal jurisdiction. Calder v. Jones, 465 U.S. 783, 790 (1984) ("Petitioners are

correct that their contacts with California are not to be judged according to their

employer's activities there. On the other hand, their status as employees does not

somehow insulate them from jurisdiction. Each defendant's contacts with the forum

State must be assessed individually."). Having assessed Griffin's actions vis-à-vis



                                               14

                                                                                      EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                          Main Document       Page 73 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 15 of 36 PageID #:939




Illinois, the Court concludes that Edelson has shown contacts sufficient to support

jurisdiction over Griffin here.

       2.     Arise out of or relate to

       "The proper exercise of specific jurisdiction requires that the defendant's

minimum contacts with the forum state be suit-related." Curry, 949 F.3d at 401 (internal

quotation marks omitted). Until recently, the Supreme Court had not elaborated on this

requirement beyond stating that "the plaintiff must also show that his injury 'arises out of'

or 'relates to' the conduct that comprises the defendant's contacts." See Felland, 682

F.3d at 676; see also Tamburo, 601 F.3d at 708. This lack of elaboration has led to

"difficulty in applying" the requirement and "conflict among the circuits." Tamburo, 601

F.3d at 708. The split centers around "how close the causal connection must be; more

specifically, the circuits disagree about whether the defendant's contacts must have

been the factual cause of the plaintiff's injury, the factual and proximate cause, or

perhaps some intermediate standard between the two." Felland, 682 F.3d at 676. It

does not appear the Seventh Circuit has taken a firm position in this debate. See id. at

676–77 (citations omitted) ("We have suggested in passing that a mere 'but for' causal

relationship is insufficient to establish the required nexus between a defendant's

contacts and the underlying cause of action, but we have declined to definitively resolve

the question.")

       In a recent case, the Supreme Court clarified that this inquiry does not require

the claim to result from the in-defendant's state contacts. See Ford Motor Co. v.

Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1026 (2021) ("[W]e have never framed

the specific jurisdiction inquiry as always requiring proof of causation—i.e., proof that



                                             15

                                                                                     EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document        Page 74 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 16 of 36 PageID #:940




the plaintiff's claim came about because of the defendant's in-state conduct."). Instead,

the Supreme Court's "most common formulation of the rule demands that the suit 'arise

out of or relate to the defendant's contacts with the forum.'" Id. In other words, specific

jurisdiction can be satisfied with a causal showing or "another 'activity or occurrence'

involving the defendant that takes place in the State." Id. (alterations accepted).

       Griffin contends that Ford Motor is distinguishable because that case involved a

company that "systematically served a market in Montana and Minnesota for the very

vehicles that the plaintiffs allege malfunctioned and injured them in those States." See

id., 141 S. Ct. at 1028; Griffin's Reply Br. at 4–5. That difference might matter if the

Court were analogizing the facts in this case to the facts in Ford Motor. But the fact that

Griffin is not a multinational corporation with systematic contacts does not shield him

from the Supreme Court's more general proposition: the Court has "never framed the

specific jurisdiction inquiry as always requiring proof of causation." Ford Motor Co, 141

S. Ct. at 1026; see also id. at 1033 (Alito, J., concurring) ("Ford . . . asks us to adopt an

unprecedented rule under which a defendant's contacts with the forum State must be

proven to have been a but-for cause of the tort plaintiff ’s injury. The Court properly

rejects that argument . . ."). Thus, the Court is not persuaded that Ford Motor should

not apply in this case.

       Griffin argues that all the claimed wrongdoing that led to this suit took place in

California and thus the Court may not exercise jurisdiction over him. Griffin Br. at 9.

("[A]ny injury suffered by the Plaintiff did not arise from any forum-related activity by

Defendant Griffin."). This argument is akin to the one made by the petitioner in Ford

Motor. See Ford Motor, 141 S. Ct. at 1026 (explaining Ford's view that "[j]urisdiction



                                             16

                                                                                      EXHIBIT "B"
Case 2:20-bk-21020-BR     Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document       Page 75 of 96
    Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 17 of 36 PageID #:941




attaches 'only if the defendant's forum conduct gave rise to the plaintiff's claims.'"). The

Supreme Court rejected that argument, and so does this Court. See id. at 1026 ("Ford's

causation-only approach finds no support in this Court's requirement of a 'connection'

between a plaintiff's suit and a defendant's activities."). It may be true that many, if not

all of, the alleged actions regarding Griffin's involvement in withholding the attorneys'

fees took place in California. 6 If so, however, that would only shut down the "arises out

of" route to personal jurisdiction, not the "or related to" route.

       Griffin's contacts with Illinois are undoubtedly related to Edelson's claims. In

order to appear in Illinois court, Griffin prepared and executed a contract that made

Edelson local counsel. That contract guaranteed Edelson a portion of the Lion Air

settlement and it is the basis for each of Edelson's claims against Griffin. For the

underlying case, Griffin executed petitions for permission to practice pro hac vice in

Illinois, appointed an Illinois-based Edelson attorney as his associated Illinois attorney,

and registered with the state's regulating body for attorneys. Griffin also flew to Chicago

to participate in mediations for the underlying litigation; these mediations led to the

settlement at the heart of this matter.

       Along with his causation argument, Griffin also asserts that the Court lacks

personal jurisdiction over him for the same reasons discussed in Wallace v. Herron, 778




6Griffin says that his all his communications with Edelson about the fee dispute took
place in California and were with Rafey Balabanian, a California-based lawyer. See
Griffin Br. at 11 (citing Dkt. no. 42-1). Therefore, Griffin claims, Edelson's claims cannot
have arisen out of his conduct in Illinois. Yet, Edelson has submitted an affidavit from
Ari J. Scharg, an Edelson attorney based in Illinois, who swears that Griffin
communicated with him about the settlements as well. See Dkt. no. 78-5. It is unclear if
Griffin and Scharg specifically discussed the fee dispute or even if these
communications were related to other allegations in the complaint.
                                              17

                                                                                     EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                          Main Document       Page 76 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 18 of 36 PageID #:942




F.2d 391 (7th Cir. 1985), and Cote v. Wadel, 796 F.2d 981 (7th Cir. 1986). Those

cases, however, bear little resemblance to this one. In Wallace, the defendant-

attorneys "lacked the necessary minimum contacts with Indiana" because the asserted

contacts were attenuated. Wallace, 778 F.2d at 394. Three of the defendants had

never had contact with Indiana having "[n]ever set foot in Indiana, conducted business

in Indiana, or been licensed to practice law in Indiana." Id. Though one defendant had

come to Indiana "on one occasion to take depositions," the controversy at the heart of

the case did not arise out of her single contact with Indiana. Id. And although the

defendants filed motions on behalf of their clients, those motions were not filed in

Indiana. Id. The case for jurisdiction in Cote was even weaker than in Wallace. Cote,

796 F.2d at 984. The plaintiff brought a malpractice suit against his attorney and the

attorney's law firm, but "there was no act or omission" by the defendants that occurred

in the forum state. See id. Because the "only significant connection between the suit

and [the forum state] was that the plaintiff live[d] there," jurisdiction was improper. Id.

       As established above, Griffin's contacts are far stronger than the contacts (or lack

thereof) in Wallace and Cote. Griffin traveled to Illinois to participate in the underlying

litigation. He contracted with an Illinois based firm so that he could appear in an Illinois

court. He executed the necessary paperwork to represent the Lion Air plaintiffs in

Illinois. Finally, Griffin's contacts with the state are related to Edelson's claims, as those

contacts are related to the underlying litigation and its settlement, out of which Edelson's

fee claims arise. Said differently, this suit has the "essential foundation" for specific

jurisdiction: a strong relationship between Griffin, Illinois, and the claims presented.

See Ford Motor, 141 S. Ct. at 1028. As such, the Court concludes that the connection



                                             18

                                                                                      EXHIBIT "B"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document        Page 77 of 96
     Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 19 of 36 PageID #:943




between the plaintiff's claims and Griffin activities is "close enough to support

jurisdiction." See id at 1032.

3.      Traditional notions of fair play and justice

        There is one final step. The Court must ensure that the "exercise of jurisdiction

does not offend traditional notions of fair play and substantial justice." Curry, 949 F.3d

at 402 (internal quotation marks omitted). To make this determination, the Court may

evaluate:

        the burden on the defendant, the forum State's interest in adjudicating the
        dispute, the plaintiff's interest in obtaining convenient and effective relief,
        the interstate judicial system's interest in obtaining the most efficient
        resolution of the underlying dispute, and the shared interest of the several
        States in furthering fundamental substantive social policies.

Purdue Rsch. Found., 338 F.3d at 781 (7th Cir. 2003) (alterations accepted). "When

the defendant's minimum contacts with the forum are relatively weak (although

existent), these considerations may militate in favor of the exercise of jurisdiction." Id.

        Griffin claims that exercising personal jurisdiction over him would run afoul of

traditional notions of fair play and substantial justice, for two reasons. First, he says "it

cannot be disputed that the burdens on [him] to litigate [are] substantial" because he is

a "now-unemployed attorney residing in California." Griffin Br. at 13. Though the Court

sympathizes with Griffin, it is not persuaded by this argument. "[A]s long as the plaintiff

has made a threshold showing of minimum contacts, that showing is generally defeated

only where the defendant presents 'a compelling case that the presence of some other

considerations would render jurisdiction unreasonable.'" Curry, 949 F.3d at 402.

Griffin's personal circumstances, while unfortunate, are not unreasonable or a proper

basis to decline to exercise jurisdiction over him.



                                              19

                                                                                      EXHIBIT "B"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document        Page 78 of 96
     Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 20 of 36 PageID #:944




        Griffin's second argument is that Edelson cannot obtain "convenient and effective

relief" in this Court because Girardi Keese has filed for bankruptcy and cannot be sued

or cross-claimed. Griffin Br. at 14 (internal quotation marks omitted). As discussed

earlier, the complaint alleges that Griffin was a party to the contract. See Compl. ¶ 106

("Defendants GK, Girardi, and Griffin, and Lira breached their contractual obligations by

not paying Edelson its share of attorney's fees."). If Edelson establishes this, Griffin

would be individually liable on the breach-of-contract claim. And even if the complaint

did not assert a breach of contract against Griffin, he is still named as a defendant on

Edelson's conversion claim and would be individually liable on that claim if Edelson

prevails. The fact that Griffin cannot assert a claim against Girardi for contribution or

indemnification in any place other than bankruptcy court has no bearing on the proper

exercise of jurisdiction here.

        In short, Griffin had sufficient contacts with Illinois that are clearly related to the

claims in this suit. The Court is convinced that exercising jurisdiction over Griffin would

not offend traditional notions of fair play and substantial justice. For these and the other

reasons discussed, the Court concludes that it may exercise personal jurisdiction over

Griffin and therefore denies his motion to dismiss.

B.      Lira's motion to dismiss

        Next, the Court considers Lira's arguments for dismissal.

        1.     Standing

        In federal courts, a plaintiff must meet the "irreducible constitutional minimum of

standing" to establish that his claim is justiciable. See Lujan v. Defs. of Wildlife, 504

U.S. 555, 560 (1992). To establish Article III standing, a plaintiff must demonstrate that:



                                               20

                                                                                         EXHIBIT "B"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document        Page 79 of 96
     Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 21 of 36 PageID #:945




(1) he "has suffered an injury in fact that is (a) concrete and particularized and (b) actual

or imminent, not conjectural or hypothetical"; (2) his "injury is fairly traceable to the

challenged action of the defendant"; and (3) "it is likely, as opposed to merely

speculative, that [his] injury will be redressed by a favorable decision." Silha, 807 F.3d

173 (internal quotation marks omitted).

         In drive-by fashion, Lira argues that Edelson may not assert its claims for

conversion, nor seek the remedies of constructive trust or accounting, because Edelson

seeks to recover fees on behalf of the Lion Air clients—the plaintiffs in the underlying

case, with whom Edelson no longer has an attorney-client relationship with. 7 Though

this argument is barely developed in Lira's initial brief, as Edelson itself recognizes, the

Court is "duty-bound" to consider standing whenever the question arises. See

Robertson v. Allied Sols., LLC, 902 F.3d 690, 698 (7th Cir. 2018) ("Article III's

requirements must be continuously met throughout the life of a case.").

          Lira does not say whether his challenge to Edelson's standing is a facial

challenge or a factual one, so the Court will consider Lira's arguments under both

analyses, starting with the facial challenge. When considering a facial challenge to

subject matter jurisdiction, the Court accepts "all well-pleaded factual allegations as true

and draw[s] all reasonable inferences in favor of the plaintiff." Silha, 807 F.3d at 173.

As noted earlier, the plaintiffs have the burden of establishing that they meet the

requirements for standing. See Disability Rts. Wis., Inc. v. Walworth Cty. Bd. of

Supervisors, 522 F.3d 796, 800 (7th Cir. 2008). The Court considers Edelson's




7   Lira does not challenge Edelson's standing to assert its the breach-of-contract claim.

                                              21

                                                                                       EXHIBIT "B"
Case 2:20-bk-21020-BR     Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                          Main Document        Page 80 of 96
    Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 22 of 36 PageID #:946




standing on each of the challenged remedies or claims separately.

       First up is the request for an accounting. 8 Edelson has sufficiently alleged that it

suffered an injury in fact (the loss of attorneys' fees it was owed) and that its injury was

the result of the defendants' actions (the alleged theft and cover-up). Lira does not

contest this. Instead, Lira asserts that by pursuing an accounting, Edelson is seeking

relief on behalf of the Lion Air clients, not on its own behalf. Specifically, Lira points to

language in the complaint where Edelson says that it seeks "an accounting of all funds

transferred from Boeing that were intended for any GK client (inclusive of any transfers

to third parties associated with, or transfers made for the benefit of, GK) related to

settlements in In Re: Lion Air Flight JT 610 Crash and a full accounting of what

subsequently became of those funds." Compl. ¶ 16; see also id. at 29, ¶ B.

       The Court disagrees. The availability of an accounting is dependent on the facts

of the case. See Tufo v. Tufo, 2021 IL App (1st) 192521, ¶ 93. Looking to the

complaint's full allegations, it is plain that Edelson does not seek this remedy on behalf

of the Lion Air plaintiffs. Edelson claims that it has no knowledge of the "whereabouts,

distribution, allocation, or transfer" of the "large, but confidential sum of money" from the

settlement. Compl. ¶¶ 97–98. And because Edelson is not certain which defendant "is

responsible, in what amount, for its damages," it seeks an accounting of the all

transactions or records relating to the settlement. Id. ¶¶ 99–100. An accounting of all




8 An accounting is an equitable remedy. See Kempner Mobile Elecs., Inc. v. Sw. Bell
Mobile Sys., 428 F.3d 706, 715 (7th Cir. 2005). A plaintiff seeking the remedy of an
accounting must allege "the absence of an adequate remedy at law." Id. Moreover, the
plaintiff must allege at least one of the following: "(1) a breach of a fiduciary relationship,
(2) a need for discovery, (3) fraud, or (4) the existence of mutual accounts which are of
a complex nature." Id.
                                              22

                                                                                       EXHIBIT "B"
Case 2:20-bk-21020-BR     Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                          Main Document        Page 81 of 96
    Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 23 of 36 PageID #:947




Lion Air transactions makes sense and seems prudent, as the fee-sharing agreements

between Edelson and Girardi Keese are dependent on the settlement amount for the

Lion Air clients. In other words, in order for Edelson to know and prove what it is owed,

it reasonably needs to "trace the stolen funds and . . . understand the nature of the

financial relationship" among the defendants. Pl.'s Resp. Br. at 6. That is enough to

confer standing for this equitable remedy.

       Next is Edelson's request for a constructive trust as a remedy for the defendants'

unjust enrichment. 9 Again, Lira asserts that Edelson lacks standing to pursue this

remedy because it is for the benefit of the Lion Air plaintiffs. In its complaint, Edelson

alleges that it has a "contractually created property right to specific percentages of the

attorneys' fees" generated by the Boeing settlement funds. Compl. ¶¶ 86–87. Edelson

further alleges that the funds owed to Edelson are "commingled with the funds owed to

the Lion Air clients" and that the defendants have distributed these funds among

themselves. Id. ¶ 88. Edelson says that it believes "principles of equity and good

conscience, as well as the Rules of Professional Conduct," require that the Lion Air

plaintiffs receive what is owed to them before Edelson receives what it is owed. Id. ¶

94. For this reason, Edelson asks that a constructive trust be imposed "for the benefit

of the Lion Air clients first, then for the benefit of Plaintiff, if sufficient funds remain in



9 Like an accounting, constructive trust is an equitable remedy. See DeGeer v. Gillis,
707 F. Supp. 2d 784, 796 (N.D. Ill. 2010) ("[C]ourtsf have consistently affirmed that the
imposition of a constructive trust is a particular type of remedy."). "A constructive trust
is a device used . . . to compel one who unfairly holds property to convey the property to
the party to whom it justly belongs." People ex rel. Hartigan v. Candy Club, 149 Ill. App.
3d 498, 502, 501 N.E.2d 188, 191 (1986). Constructive trusts may be imposed when "a
party has received money properly belonging to another under circumstances that, in
equity, the party ought not be allowed to retain." Jackson v. Callan Pub., Inc., 356 Ill.
App. 3d 326, 334, 826 N.E.2d 413, 423 (2005).
                                                23

                                                                                           EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                          Main Document       Page 82 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 24 of 36 PageID #:948




trust." Id. ¶ 95.

       The Court agrees with Lira, in part. To the extent Edelson seeks a constructive

trust to be imposed for the benefit of the Lion Air clients, it lacks the standing to do so.

All parties agree that Edelson no longer has an attorney-client relationship with the Lion

Air plaintiffs. Without that relationship, Edelson lacks standing to vindicate those

plaintiffs' rights. Kowalski v. Tesmer, 543 U.S. 125, 129–30, (2004) ("We have adhered

to the rule that a party 'generally must assert his own legal rights and interests, and

cannot rest his claim to relief on the legal rights or interests of third parties' . . . . [W]e

have recognized an [existing] attorney-client relationship as sufficient to confer third-

party standing."). Though Edelson argues that principles of equity and good

conscience, as well as the Illinois Rules of Professional Conduct, require it to seek a

constructive trust for both itself and the Lion Air clients, that argument cannot overcome

the requirement for Edelson to have standing to assert its claims and to seek its

requested remedies. See Friends of the Earth, Inc. v. Laidlaw Env't Servs. (TOC), Inc.,

528 U.S. 167, 185 (2000) ("[P]laintiff must demonstrate standing separately for each

form of relief sought."). Edelson cites no case to the contrary, and the Court has not

been able to identify any.

       But the fact that Edelson lacks standing to seek a constructive trust on behalf of

the Lion Air plaintiffs does not mean it lacks standing to seek a constructive trust over

the property belonging to Edelson that it alleges the defendants unjustly hold. See

Jackson, 356 Ill. App. 3d at 334, 826 N.E.2d at 423. Again, Lira does not contest that

Edelson has an injury in fact and that its injury was the result of the defendants' actions.

And there is no question that Edelson's injury can be redressed by the imposition of a



                                                24

                                                                                          EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document        Page 83 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 25 of 36 PageID #:949




constructive trust. If Lira and the other defendants are in possession of money to which

they are not entitled because it is owed to Edelson and "in equity and good conscience

[they] ought not retain it, a constructive trust can be imposed to avoid unjust

enrichment.” See Nat'l Union Fire Ins. Co. of Pittsburgh v. DiMucci, 2015 IL App (1st)

122725, ¶ 76, 34 N.E.3d 1023, 1045 (internal quotation marks omitted).

       Third to consider is Edelson's claim for conversion. In its complaint, Edelson

alleges that it "has an absolute and unconditional right to the immediate possession of

the attorneys' fees, once the appropriate settlement funds have been transferred to the

Lion Air clients." Compl. ¶ 117. It further alleges that though it "made numerous

demands" on the defendants for an accounting and for payment, its requests were

ignored. See id. ¶ 118. Instead, the defendants "assumed control and ownership over

the attorneys' fees and refused to provide them." Id. ¶ 119.

       As with the previously discussed remedies, Lira argues that Edelson lacks

standing to pursue its conversion claim because it seeks to vindicate the rights of the

Lion Air plaintiffs. The Court disagrees. The only mention of the Lion Air clients in

Edelson's claim for conversion is an allegation in which Edelson explains that under the

fee-sharing contracts, it "has an absolute and unconditional right to the immediate

possession of the attorneys' fees, once the appropriate settlement funds have been

transferred to the Lion Air clients." Compl. ¶ 117. That allegation does not amount to

seeking a remedy on behalf of a third party. Unlike with its unjust enrichment claim and

with the remedy of constructive trust, Edelson limits its conversion claim and the

resulting damages to its "share of the attorneys' fees." Id. ¶ 120. Given that Edelson

has sufficiently alleged injury, causation, and redressability, the Court concludes that



                                            25

                                                                                     EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                          Main Document       Page 84 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 26 of 36 PageID #:950




Edelson has standing to bring its conversion claim.

       Consideration of Lira's standing challenge as a factual attack produces the same

results as the facial attack did. Though "a facial attack does not challenge the alleged

facts themselves . . . . a factual attack does [by] testing the existence of the jurisdictional

facts underlying the allegations." Bazile v. Fin. Sys. of Green Bay, Inc., 983 F.3d 274,

279 (7th Cir. 2020) (citation omitted). And although "a plaintiff undergoing only a facial

attack enjoys treatment of her allegations as true," a plaintiff undergoing a factual attack

does not have that benefit. Id. Instead, courts considering factual attacks to subject

matter jurisdiction "may consider and weigh evidence outside the pleadings to

determine whether it has power to adjudicate the action." Id. Furthermore, once a

factual attack is launched, "the plaintiff must support each controverted element of

standing with . . . a showing by a preponderance of the evidence, or proof to a

reasonable probability, that standing exists." Id. at 278 (citations omitted).

       Looking to Lira's arguments, he only attacks Edelson's standing for the

constructive trust, conversion, and accounting on the basis that the remedies and claim

are premised on the rights of plaintiffs Edelson no longer represents. The Court has

already concluded that neither the conversion claim nor the request for an accounting

directly implicate the rights of third parties. Lira has produced no evidence that would

undermine that conclusion. In fact, the only evidence outside the pleadings that Lira

cites are three exhibits that show that Edelson is no longer representing the Lion Air

plaintiffs—a fact Edelson does not dispute. See dkt. nos. 44-9, 44-10, 44-11, 44-12,

and 44-13.

       With regard to the constructive trust claim, because Edelson does not dispute



                                              26

                                                                                      EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                          Main Document       Page 85 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 27 of 36 PageID #:951




that it has no existing attorney-client relationship with the Lion Air plaintiffs, the Court's

analysis on this issue is likewise unchanged. As noted above, Edelson cannot seek a

constructive trust on behalf of the Lion Air plaintiffs. But, for the reasons already

discussed, Edelson may still seek a constructive trust for the property it alleges it is

entitled to that the defendants unjustly hold.

       There is one last matter to address before moving on. In addition to the portions

of the complaint already considered above, Lira cites a few other portions of the

complaint that reference the Lion Air clients, their injuries, or what is owed to them.

These statements are not coupled with any particular claim or remedy. See Compl. at

1–2 ("Plaintiff . . . brings this lawsuit to recover monies due and owing to itself, as well

as to seek the disgorgement of all monies due and owing to all clients of Girardi Keese

in the matter of In Re: Lion Air Flight JT 610 Crash"); id. ¶ 7 ("And while the present

Complaint is brought in part to enforce Plaintiff’s fee agreement with GK, those fees are

not the primary focus of this Complaint; rather, this Complaint also seeks to force GK . .

. to uphold its fiduciary duty to the surviving families of the victims of Lion Air Flight 610

that it agreed to represent"); id. ¶ 16 ("this lawsuit requests that the Court order . . . (2)

the disgorgement of all [Boeing settlement] funds from any Defendant (or any non-party)

who is improperly in receipt of those funds; (3) the transfer of those funds to the

appropriate client recipients; and, only after those steps have been accomplished (and

any other remedial steps the Court deems warranted), (4) the payment of the

contractually required attorneys’ fees to Edelson PC"); id. at 29 ¶ F (asking the Court to

require "the transfer of all Lion Air client funds to the appropriate client recipients"); id. at

30 ¶ G (requesting that the Court require "the payment of all contractually required



                                               27

                                                                                        EXHIBIT "B"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                            Main Document       Page 86 of 96
     Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 28 of 36 PageID #:952




attorneys’ fees to Edelson PC, only after the Court confirms the full and complete

payment to the Lion Air clients).

        Edelson says that these statements are best read in line with its view that the

"principles of equity and good conscience, as well as the Rules of Professional

Conduct," require that the Lion Air plaintiffs receive what is owed to them before

Edelson receives what it is owed. See id. ¶ 94. But, as the Court has already

explained, to the extent Edelson seeks any remedy on behalf of the Lion Air plaintiffs, it

lacks standing to do so. Edelson admits it no longer has an attorney-client relationship

with the Lion Air plaintiffs, and without some other basis for standing, Edelson is

permitted to vindicate only its own interests and rights. See Kowalski, 543 U.S. at 129–

30.

        In sum, Edelson has standing to seek the equitable remedies of constructive trust

and accounting, as well as to pursue its claim for conversion. It may not, however, seek

relief on behalf of the Lion Air plaintiffs.

        2.     Automatic bankruptcy stay

        Lira next argues that this suit should be automatically stayed pursuant to 11

U.S.C. § 362(a)(1) and (a)(3). 10 The automatic stay is a powerful tool. Fox Valley

Const. Workers Fringe Ben. Funds v. Pride of Fox Masonry & Expert Restorations, 140

F.3d 661, 666 (7th Cir. 1998). The relevant provisions of section 362 read:

        (a) Except as provided in subsection (b) of this section, a petition filed under
        section 301, 302, or 303 of this title, or an application filed under section
        5(a)(3) of the Securities Investor Protection Act of 1970, operates as a stay,
        applicable to all entities, of--



10It is worth noting that the Court has already stayed the case as to Girardi and Girardi
Keese based on their pending bankruptcy cases. See Dkt. no. 48.
                                               28

                                                                                       EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document        Page 87 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 29 of 36 PageID #:953




       (1) the commencement or continuation, including the issuance or
       employment of process, of a judicial, administrative, or other action or
       proceeding against the debtor that was or could have been commenced
       before the commencement of the case under this title, or to recover a claim
       against the debtor that arose before the commencement of the case under
       this title;
       ...

       (3) any act to obtain possession of property of the estate or of property from
       the estate or to exercise control over property of the estate.

11 U.S.C. § 362(a).

       Courts begins its analysis by considering section 362(a)(1). "On the filing of a

bankruptcy petition, the stay automatically stops any other proceedings against the

debtor." Fox Valley, 140 F.3d at 666. Non-bankrupt third parties generally are not

protected by the stay, unless the debtor and the non-bankrupt third party "have such a

similarity of interests that failure to protect the third party will mean that the assets of the

debtor itself will fall into jeopardy." Id. (citing See A.H. Robins Co. v. Piccinin, 788 F.2d

994, 998 (4th Cir. 1986)). Both Girardi and Girardi Keese have filed for bankruptcy in

the Central District of California. Lira, however, has not filed for bankruptcy, nor has an

involuntary bankruptcy petition been filed against him. Instead, he contends the stay

should apply to claims against him because he has a right to indemnification against

Girardi Keese or Girardi under equitable principles and a statutory right to

indemnification under California law.

       To establish that he has a "similarity of interests" with Girardi and Girardi Keese

such that this suit should be stayed, Lira says that this case presents an "unusual

situation" that falls within an exception to the general rule. See A.H. Robins Co., 788

F.2d at 999 (An example of an "unusual situation" is "a suit against a third-party who is

entitled to absolute indemnity by the debtor on account of any judgment that might

                                              29

                                                                                       EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document        Page 88 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 30 of 36 PageID #:954




result against them in the case."). That exception would apply the automatic stay

pursuant to section 362(a)(1), where "'there is such identity between the debtor and the

third-party defendant that the debtor may be said to be the real party defendant and that

a judgment against the third-party defendant will in effect be a judgment or finding

against the debtor.'" Matter of Fernstrom Storage & Van Co., 938 F.2d 731, 736 (7th

Cir. 1991) (quoting A.H. Robins Co., 788 F.2d at 999).

       The problem with Lira's argument is that he is presenting it to the wrong court.

His contention must be adjudicated by the bankruptcy court in California, not this Court.

Lira misunderstands the applicability of A.H. Robins Co. when he suggests that section

362(a)(1), alone, results in a stay of the proceedings against him in this case. The

purpose of section 362(a) "is to protect the debtor from an uncontrollable scramble for

its assets in a number of uncoordinated proceedings in different courts, to preclude one

creditor from pursuing a remedy to the disadvantage of other creditors.” Fox Valley,

140 F.3d at 66 (internal quotation marks omitted). The plain words of section 362(a)(1)

do not "touch proceedings to enforce a court order against non-bankrupt third parties."

See id. In other words, section 362(a)(1) does not, on its face, automatically stay

proceedings involving a non-debtor. That is presumably why in A.H. Robins Co., the

case Lira relies upon, the court premised the exceptions to the general rule regarding

the applicability of section 362(a)(1) on bankruptcy courts' authority under section

362(a)(1) and 11 U.S.C. § 105, which gives bankruptcy courts the authority to issue an

injunction that is necessary or appropriate to carry out the provisions of the Bankruptcy

Code. See A.H. Robins Co., 788 F.2d at 1002 ("The statutory power of the bankruptcy

court to stay actions involving the debtor or its property is not, however, limited to



                                             30

                                                                                     EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document        Page 89 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 31 of 36 PageID #:955




section 362(a)(1) and (a)(3). It has been repeatedly held that 11 U.S.C. § 105 which

provides that the bankruptcy court 'may issue any order, process, or judgment that is

necessary or appropriate to carry out the provisions of this title,' 'empowers the

bankruptcy court to enjoin parties other than the bankrupt' from commencing or

continuing litigation.").

         The Seventh Circuit has not yet had the opportunity to consider the correct

process for invoking an exception to the general rule regarding the applicability of

section 362(a)(1). That is because in the handful of times the Seventh Circuit has

considered A.H. Robins Co or other exceptions to section 362(a)(1), it has found that

the non-debtor does not qualify for the exceptions. See Harley-Davidson Credit Corp. v.

JHD Holdings Inc., No. 19-CV-155-JDP, 2020 WL 7078828, at *1 (W.D. Wis. Dec. 3,

2020); see, e.g., Matter of Fernstrom Storage & Van Co., 938 F.2d at 736 (deciding

non-debtor did fit within the exception from A.H. Robins Co. or another case and

affirming the bankruptcy court); Fox Valley, 140 F.3d at 666 (rejecting attorney's

argument that "the automatic stay deprived the district court of jurisdiction to sanction

him").

         Other courts have considered A.H. Robins Co., however, and they have come to

same conclusion this Court has. See, e.g., Patton v. Bearden, 8 F.3d 343, 349 (6th Cir.

1993) ("It should be noted that . . . extensions [of section 362(a)(10] to non-debtors,

although referred to as extensions of the automatic stay, were in fact injunctions issued

by the bankruptcy court after hearing and the establishment of unusual need to take this

action to protect the administration of the bankruptcy estate. Even if we were to adopt

the unusual circumstances test, the bankruptcy court would first need to extend the



                                             31

                                                                                     EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document        Page 90 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 32 of 36 PageID #:956




automatic stay under its equity jurisdiction pursuant to 11 U.S.C. § 105."); In re Chugach

Forest Prods., Inc., 23 F.3d 241, 247 (9th Cir. 1994) (citing Patton and reaching the

same conclusion); Harley-Davidson Credit Corp., 2020 WL 7078828, at *2 (citing both

Patton and Chugach and reaching the same conclusion).

       Even if Lira could invoke section 362(a)(1) here, the Court would deny a stay

under that provision. Lira asserts that a stay under section 362(a)(1) is required

because he has a right of indemnification by Girardi or Girardi Keese under California's

Labor Code. Lira's Br. at 8; see A.H. Robins Co., 788 F.2d at 999 (An example of an

"unusual situation" is "a suit against a third-party who is entitled to absolute indemnity

by the debtor on account of any judgment that might result against them in the case.").

Lira has not shown that he is "entitled" to "absolute indemnity." See id. Section 2802(a)

of the California Labor Code provides that:

       (a) An employer shall indemnify his or her employee for all necessary
       expenditures or losses incurred by the employee in direct consequence of
       the discharge of his or her duties, or of his or her obedience to the directions
       of the employer, even though unlawful, unless the employee, at the time of
       obeying the directions, believed them to be unlawful.

Cal. Lab. Code § 2802(a). Lira's argument bypasses the last clause of the statute. An

employer is required to indemnify an employee unless the employee took actions that

he knew were unlawful. See Dowie v. Fleishman-Hillard Inc., 422 F. App'x 627, 629

(9th Cir. 2011). The complaint alleges that Lira knew his acts were unlawful. See

Compl. ¶ 54 ("Lira had knowledge of and cooperated with Girardi’s misappropriation

and conversion of settlement proceeds[.]"). Viewing the allegations in the light most

favorable to the Edelson, Lira's chance of indemnification by his employer would not

justify a stay. See Menzies, 943 F.3d at 332. Lira must "demonstrate his entitlement to



                                              32

                                                                                      EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                          Main Document       Page 91 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 33 of 36 PageID #:957




indemnity under the criteria set forth in the statute" before claiming that his entitlement

is absolute. See In re Bidermann Indus. U.S.A., Inc., 200 B.R. 779, 784–85 (Bankr.

S.D.N.Y. 1996).

       Though Lira may not invoke section 362(a)(1) to obtain a stay of these

proceedings from this Court, he may be able to achieve the same result under section

362(a)(3). Section 362(a)(3) prevents "any act to obtain possession of property of the

estate or of property from the estate or to exercise control over property of the estate."

Though Edelson argues otherwise, the plain words of the provision go past protecting

just the debtor and protect any property of the estate. Another provision of the Code, 11

U.S.C. § 541(a), says that property of the estate includes "all legal or equitable interests

of the debtor in property as of the commencement of the case."

       Off the bat, it seems obvious that Edelson's request for a constructive trust is

subject to a stay under section 362(a)(3). As stated clearly in Edelson's complaint, it

"seeks the imposition of a constructive trust on all money transferred from Boeing to

[Girardi Keese] in connection with the Lion Air settlements." Compl. ¶ 95. If Edelson

were to succeed on a constructive trust theory, "the value of [Girardi or Girardi Keese's]

bankruptcy estate would be reduced . . . because [the] property in which the debtor

holds legal but not equitable title as of the commencement of the case . . . is property of

the estate . . . to the extent of the debtor's legal title." See In re Nat. Century Fin.

Enters., Inc., 423 F.3d 567, 575 (6th Cir. 2005); see also 11 U.S.C. §541(d) (stating that

property "in which the debtor holds . . . only legal title and not an equitable interest . . .

becomes property of the estate under subsection (a)(1) or (2) of this section only to the

extent of the debtor's legal title to such property, but not to the extent of any equitable



                                              33

                                                                                        EXHIBIT "B"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                            Main Document       Page 92 of 96
     Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 34 of 36 PageID #:958




interest in such property that the debtor does not hold."). Therefore, Edelson's request

for a constructive trust must be stayed until the bankruptcy litigation is resolved.

        Conversely, section 363(a)(3) does not automatically stay the conversion and

breach-of-contract claims against Lira. The complaint alleges that Lira (along with the

other defendants), was a party to the fee arrangement contract he signed. See Compl.

¶¶ 15, 103, 106. 11 Edelson also alleges that Lira, with the other defendants, wrongfully

and without authorization assumed control and ownership of funds owed to Edelson and

converted those funds. See id. ¶¶ 119–120. Though Lira argues that judgment in favor

of Edelson on the conversion and breach-of-contract claims is tantamount to "immediate

possession of funds held by the bankruptcy estate," that is not so. See Lira's Reply Br.

at 11; see also id. at 10. On their face, these claims are based on Lira's conduct and

rest upon his own breach of duty, and thus they implicate Lira's individual liability. In

short, the bankruptcy estates would not be disturbed by entry of a judgment against him

on these counts.

        Last to consider is the remedy of an accounting. Edelson requests that all

defendants be required "to provide a full and complete accounting of all funds

transferred from Boeing that were intended for any [Girardi Keese] client (inclusive of

any transfers to third parties associated with, or transfers made for the benefit of, Girardi

Keese) related to settlements in In Re: Lion Air Flight JT 610 Crash, and a full

accounting of what subsequently became of those funds." Compl. at 29, ¶ B. Lira is a




11 Lira repeatedly asserts that he was not a party to the fee-sharing contract. But at this
stage, and on this issue, the Court is required to accept all facts alleged in the complaint
as true, view them in the light most favorable to Edelson, and draw all reasonable
inferences in its favor. See Menzies, 943 F.3d at 332.
                                             34

                                                                                       EXHIBIT "B"
Case 2:20-bk-21020-BR      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                           Main Document        Page 93 of 96
     Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 35 of 36 PageID #:959




defendant, and applying the remedy of an accounting to him would not impact the

bankruptcy estates. 12 In sum, this remedy is unaffected by the automatic stay.

        To summarize, Lira's request to stay this case in its entirety under section

362(a)(1) is inappropriate because the bankruptcy court would first need to extend the

automatic stay under its equity jurisdiction pursuant to 11 U.S.C. § 105. Even if that

were not the case , the Court would not stay the claims against Lira because he has

not shown that he is entitled to absolute indemnity from Girardi or Girardi Keese.

Regarding Lira's assertion that this case must be stayed under section 362(a)(3), only

Edelson's request for the remedy of constructive trust must be automatically stayed as

that is the only provision that directly touches the Girardi or Girardi Keese bankruptcy

estates. 13

                                       Conclusion 14

        For the reasons stated above, the Court denies Griffin's motion to dismiss [dkt.

no. 41] and grants Lira's motion to dismiss [dkt. no. 43] in part, staying litigation on


12 Lira contends that no settlement funds were transferred to him and that he never had
control over these funds. These assertions ignore the allegations in the complaint.
Edelson makes clear that though it has no knowledge of the "whereabouts, distribution,
allocation, or transfer" of the Lion Air settlement proceeds, it believes the defendants do
and that they must therefore provide a full accounting. See id. ¶¶ 98–100.
13 Lira separately asks for an indefinite stay due to the pending bankruptcy proceedings
even if the automatic stay does not apply. See Munson v. Butler, 776 F. App'x 339, 342
(7th Cir. 2019) ("[A] district court has inherent power to exercise its discretion to stay
proceedings to avoid unnecessary litigation of the same issues."). The Court denies
this request. Aside from the constructive trust, the remaining claims against him do not
warrant a stay.
14As noted at the April 6, 2021 status hearing, Lira's argument vis-à-vis venue is
underdeveloped and unsupported. It is thus forfeited. See Batson v. Live Nation Ent.,
Inc., 746 F.3d 827, 833 (7th Cir. 2014); Gonzales v. Madigan, 403 F. Supp. 3d 670, 679
(N.D. Ill. 2019) (Kennelly, J.), aff'd, 990 F.3d 561 (7th Cir. 2021).

                                             35

                                                                                       EXHIBIT "B"
Case 2:20-bk-21020-BR    Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51 Desc
                         Main Document        Page 94 of 96
   Case: 1:20-cv-07115 Document #: 91 Filed: 07/19/21 Page 36 of 36 PageID #:960




Count 1 (Unjust Enrichment - Constructive Trust) under 11 U.S.C. § 362(a)(3) unless

and until the conclusion of the Girardi and Girardi Keese bankruptcy proceedings or

until the bankruptcy court orders otherwise. Both defendants are directed to answer all

remaining claims by no later than August 9, 2021. Rule 26(a)(1) disclosures, unless

already made, are to be made by August 16, 2021. The parties are directed to confer

and attempt to agree upon a discovery and pretrial schedule and are to file by August

23, 2021 a joint status report setting out an agreed schedule or alternative proposed

schedules. The case is set for a telephone status hearing on August 31, 2021 at 8:45

a.m., using call-in number 888-684-8852, access code 746-1053, though the Court

reserves the right to vacate the status hearing if it determines a hearing is not needed.

Counsel should wait for the case to be called before announcing themselves.



                                                 ________________________________
                                                      MATTHEW F. KENNELLY
                                                      United States District Judge

Date: July 19, 2021




                                            36

                                                                                   EXHIBIT "B"
       Case 2:20-bk-21020-BR                      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                                       Desc
                                                  Main Document     Page 95 of 96



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 3200
Park Center Drive, Suite 250, Costa Mesa, CA 92626.
 A true and correct copy of the foregoing document entitled (specify): DECLARATION OF SPECIAL
LITIGATION COUNSEL RONALD RICHARDS IN SUPPORT OF OPPOSITION TO MOTION FOR
RELIEF FROM STAY will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 October 19, 2021 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                          Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) October 19, 2021 , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.


The Honorable Barry Russell
U.S. Bankruptcy Court
Roybal Federal Building
255 E. Temple Street, Suite 1660
Los Angeles, CA 90012
                                                                                          Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______ , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                          Service information continued on attached page.




I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 19,2021                           Gabriela Gomez-Cruz                                   /s/ Gabriela Gomez-Cruz
 Date                                      Printed Name                                          Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
       Case 2:20-bk-21020-BR                      Doc 269 Filed 10/19/21 Entered 10/19/21 10:46:51                                       Desc
                                                  Main Document     Page 96 of 96




                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

      Rafey Balabanian rbalabanian@edelson.com, docket@edelson.com
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